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TRULINCS 47849509 - CHAUVIN, DEREK MICHAEL - Unit: TCN-S-E
                                                                                                   Sxn-n lor ll
                                                                                             RECEIVEN
FROM: Schaetzel. William                                                                           BV r4Atl
TO:47849509
SUBJECT: RE: info                                                                             l,t0v 13 2023
DATE: 031 1012023 1 2:36:06 AM                                                        CLERK, U.SJ. DI5'IITIU I LUUfi I
                                                                                               ST PALJL. N/N
Derek-
When you mentioned you were trying to reach Nelson, I decided to email him myself. I have never been able to speak with
him. The email I sent to him was to alert him that you were trying to contact him. I then attached that three or four-page
explanation that I first sent you. I am hopeful that he got it and read it. I know your telephone time is limited.

When I spoke with Morhman, he was truly interested. He said; "This is the first time anyone has told or explained this to me."
He told me he had little hope the Appellate Court in Minnesota would overturn your conviction. However, he thought that the
Supreme Court would almost certainly overturn it. He then asked if you were to get a new trial, would I be willing to be an
expert witness? I'm a coward, but if he can't a braver soul...l'll have to drag myself in there. Otherwise, I couldn't live with
myself.

Following your trial, I wrote to the medical director of NMS labs and requested that they inventory and sequester anybody fluids
from Mr. F they had remaining. I did not get a reply, but I know they got it because it was sent by FedEx, and I have the tracking
number somewhere. One thing I would ask Nelson to do is to ask NMS labs if they did any other analysis other than what
Nelson had. They probably couldn't tell what the results were or the names of the tests they did, but maybe they could confirm
or deny if Nelso had all the tests. lf they won't tell him, then maybe he could ask to see the bill NMS billed the Medical
Examiner's office for Floyd's Toxicology analysis. The bill should list what they did, and I would think Nelso could look at that
through a Freedom of Information Act petition. Wouldn't it be something if they did the tests and didn't give them to Nelson? As
crazy as the fury was to convict you, there is a distinct possibility that they may have. I wouldn't be surprised.

I also wrote to the President of the Pheochromocytoma/ paraganglioma foundation and asked her to write a press release
stating and asking to have Floyd's body fluids analyzed. I told her it would bring light to her organization with kpowledge and
awareness of the condition to the public. According to their website, that's what the purpose of her organization is all about. I
never received a reply. I guess I was wrong about the goal of her organization.

DEREK MICHAEL CHAUVIN on319120231:08:16 PM wrote
I have already contacted a former coworker who keeps in contact with at least two of the others. I advised him to notify them
and their lawyers regarding the information. I have a mailing address for one of the others. You certainly could send the
documents directly to him to discuss with his lawyer. I would be certainly be able to reimburse you for the mailing expense.

I spoke to Mr Mohrman regarding the medical information. You had done so as wellfrom a previous email. I have emailed the
other lawyer Mr Nelson to arrange a phone call. Not sure when I will be able to speak with him. A fear I have is that the M.E.
sent off samples and then destroyed what was left to cover himself. NMS Labs could have only checked for toxicology
purposes and skipped assaying for anything else if not directed to do so. But mere speculation at this point. When I do speak
with Mr Nelson I will relay allthe medical information provided. Would he be able to contact you directly as well? Or if he is
able to call here at a scheduled time in the afternoon Monday-Friday, you could be added to a conference call from his end if
your schedule permits. Typically they call here around 12:00-12:30 which would be 1:00-1:30 Central Time. But an earlier or
later call could probably be arranged. Thanks.

The mailing information is:

J Alexander Kueng
43877-509
FSI Conectional Institution Elkton
Po box 10
Lisbon, OH 44432
                                                                                                          SCANhJEI'
---Schaetzel, William on 212512023 12:21 AM wrote:                                                            NO\/ 1 3 2023



Derek-
I can only imagine how hard life is for you. The trouble I harbor is that I know they convicted innocent men. I don't know if you
can communicate with the other officers, but if you do, please feel free to share the information I gave you. They must be
confused as to why Mr. F died as well. Maybe their attorneys can get the assays done. lf you talk with Nelson, your first
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TRULINCS 47849509 - CHAUVIN, DEREK MICHAEL - Unit: TCN-S-E                                      UH-n                L o(ll
defense attorney, you might ask him to call NMS labs and ask if they did any other tests other than what he was given. lf they
did the catecholamine levels and the Prosecution suppressed that information.....well that would be something.

Consider yourself free to call me whenever you feel the need. Weekday mornings are not the best because that is when most
surgeries are performed, and sometimes I have to go up to the operating room to examine a tumorous tissue to decide if its
cancer or not. But you could even try then, but it might be hit and miss

Keep the faith,

Biil.

DEREK MICHAEL CHAUVIN on212312023 4:06:04 PM wrote
The reply emails would only allow a handful of characters. The reason they look like a Japanese Haiku.

I think there was pressure to say the "right" diagnosis and not anything contrary to what the politicians/media would accept.
lsn't there something regarding medical ethics that M.D.'s are supposed to follow? As in if someone had a cancerous tumor or
another medical condition they can't pretend it doesn't exist and everything is fine. Plus Dr Bakers' statement that if Floyd was
found dead at home with no one around and no other apparent causes it would be ruled an OD. So in other words there is NO
medical evidence of anything but an OD based on what WAS included in the autopsy.. Of course nothing at all regarding the
paraganglioma. But since there is public pressure it MUST be something else.

I think that is a good idea to reach out to other docs to get some further medical opinions. Especially from a pulmonologist,
cardiologist, and toxicologist. Maybe even someone who would deal with human anatomy/physiology and the effects oi various
body positions such as prone vs supine may have on overall body functioning. The state called two of those specialties. Plus
another retired pathologist that trained Dr Baker and an ER doc that does trainings with cops in Kentucky. They didn't have a
toxicologist testify. I had a retired earlnose/throat doc write to me saying Dr Tobin's notion of the upper ainrvay tlosing to the
size of a straw from "neck" pressure is beyond their training/experience. I guess a nice way of saying it is false. Anoiher PhD
doc wrote discussing there would be no/minimal effect from body weight from someone my size with a prone subject. They
included six citations from various medical journals. I don't have internet here so if you have some names/addreises to pass
along I can start writing them. lf you decide to send a letter or contact them as well that would be very good too.

lf we are more available for phone calls next week would I be able to call you? lf so when might be a good day and time?
Thanks again for the help so far. Not many people even willing to do that.
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   TRULfNCS 47849509 - CHAUV|N, DEREK M|CHAEL - unit: TcN-s-E                                            tx lr-a             3o{ tl
                      1

                                ----__.,t__--

   FROM: Schaetzel, William
   TO:47849509
   SUBJECT: note i sent to Lane and Kueng
   DATE: 0610812029 09:06:09 pM

   Dear Officer
                                                                         June 1,2023

   I had the unfortunate opportunity of watching Derek
                                                         chauvin's trialwhile recuperating.from surgery at the Mayo clinic.
  was unfortunate for me because I am perhaps the last person in                                                                 I say it
                                                'have                 the world *ho rouid
                                                                                        -Brt, want to bring this information to light. I
  have practiced medicine for forty years and         only n"oio i".tirv in court on.".       unfortunately for me. knowledge is a bit
  like Pandora's box; you can't unie-arn it once you know something.
                                                                        Thus | find ryr-rr knowing something about Mr. Floyd, which
  is specialized knowledge' This has placed me in a rather
                                                             un.oriortaote position, noiuntire lioses e(q'|
                                                                                                ""'-       stan;in;
  bush, saying, "Not me, God, I am not good with words. please
                                                                    choose someone etsei.                      'v" '! before the burning

  For the past two year:, I have tried to get "someone" else
                                                                to lead and champion this cause. But, unfortunately, it appears
  is no'one. Then I am faced with that difficult question. if ;oi                                                                  there
                                                                  ;;;who?    | write onty io inforrn you of this special knowtedge
                                                                                                                                   and
  hope you will read, investigate and educate yourself.

  watching the trial as a pathologist, I was immediately drawn
                                                               to the Medical Examiner's. autopsy report on Mr. George Floyd.
  reviewing Dr' Bake/s report, I noted Mr. Floyd was found                                                                       In
                                                            to.have an unusualtumor in his pelvis called a paraganglioma.
  BooMl I immediately searched the rest of br. Baker;r ipo.tlor the assay reveis
                                                                                      or ine ,.,iost poieni n*,ion* in the body,
  which this tumor is known to produce. But, unfortunatety,lhere
                                                                  is no mention of those values. Those hormone           levels were
  inexplicably never assayed.

 I am at a total loss to comprehend lf Dr. Baker w1s
                                                      intelligent enough to diagnose a paraganglioma, he certainly
                                                                                                                   would have
 number one likely cause of death until prwen otherwise.
                                                              i
 known its significance' I would have thought that finding pri"g"ndrioma
                                                                              in-a persoi wno died suddenly would have been the


 Paragangliomas produce abnormally high levels of catecholamines,
                                                                         typicailly either adrenaline or noradrenaline. These
 hormones are so biologically potent-mol-ecules that *"
 we all know the svmptgm.s of circulating adrenaline
                                                           re""rr"   neirilvers in pi"ogr"rr. A picogram is one trillionth of a gram.
 physiological amounts but often at a mu-ltiple of
                                                         *hil;;;t    or scared. But paragangtiomas don,t secrete normal
                                                   normal
 or physical manipulation' when the tumor releases these   "rouit'r.  .Unlike a ticrini tim"e bomb, they can be set off by emotional
                                                              excessive amounts, the person experiences a catecholamine
 The symptoms and sheer terror a person experiences                                                                           crisis..
                                                          during a crisis is .or"iiring;inanmuily, we will never
 able to comprehend. These peopt'e are riteraily scared                                                           experience or be
                                                           to aeain-
when such elevated levels of catecholamines circulate through your
                                                                            body, the excess amount can cause multiple organ
failures' For instance, not unlike the lawnmower that begins
                                                                   io r6sj power and sputter when too much gasoline floods the
carburetor' the heart loses its ability to contract ano-pum-p                      -r
                                                                blood- rnis type n""rt i"irut" incited by excessive catecholamines
is called rakotsubo's myocarditis. when the heart
                                                       tairs t5 pr*p'nrooo, ine olooo rrom tne lungs lpading
This increased pressure in the pulmonary vasculature                                                           to the heart, backs up.
                                                           cauies the liquid portion otour ntooo to leak into the pulmonary
and alveoli' with the increased fluid in your alve,oliltiny                                                                   tissue
                                                              aiisaclj, t1'" oxygen ano caroon dioxide have difficutty getting through.
with dropping oxygen levels and rising'carbon dioxide ievels
                                                                  in our blood,-we have the sensation that we can,t
                                                                                                                       catch our breath.
This is' in a nutshell, what, in my professional.opinion,
                                                           happened to Mr. Floyd-. lf you watch officer,s Lane
cam recording' knowing Mr' Floyd had this ticki;g timenomn,                                                        and Kueng,s body
                                                                   yo, ."n watch the catecholamine crisis unfold from start
There is no doubt' in my opinion, that Mr. Floyd Jied                                                                           to finish.
                                                         as r"r,i[or" catechoramin" rriri, after being stariled
which then precipitated rakotsybo's myocarditis (acute "                                                             by officer Lane,
                                                            n"art iairr") with resultant pulmonary edema and death.
 Knowing that Mr' Floyd has.a paraganglioma while
                                                        standing outside the squad car, he is, in my opinion,
Moribund means that death is ineviiiol6 no.matter                                                               likely moribund.
                                                      what you-do to treat the patient.'st"noing_ by the
can't breathe' Mr' Floyd tells us his heart failure nat                                                   squad    car and telling us he
death.
                                                                 pir*n"ry edema, and he is critically ill, just moments     away from
                                                        "auieJ
In all truthfulness' there are some cases of rakotsubo's
                                                             myocarditis patients who have survived. However,
those cases were in already hospitalized patients                                                               to my knowledge, all
                                                    with a tnown cateinotamine-piooucing tumor. so you
had rhade it to the hospitalLlive,'he almost certainly                                                       see, even if Mr.Floyd
                                                       stitt wouto nave died. Mr. Floyd would have, at presentation
Emergency Room' now had critically low blood preisure                                                                 to the
                                                             oue to neart failure (caused by the excessively elevated
                                                                                                                       catecholamine
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    levels') Typically in such an emergency, the treating physician seeks to raise the blood pressure by administrating adrenaline,
    the very cause of Mr.Floyd's cardiovascular collapse.. Additional Adrenaline is contraindicated in patients w1h Takotsubo's
    disease and if administred, would have likely sealed Mr. Floyd's fate.

 In retrospect, knowing Mr. Floyd harbored an occult paraganglioma makes all the difference. Now with the knowledge
                                                                                                                          of the
 cardinal signs of a catecholamine crisis, one develops an entirely different narrative while watching the police body
                                                                                                                       cim videos,
 culminating in Mr. Floyd's death. Below are some of the critical events and symptoms of a catecho-lamine crisis to observe
                                                                                                                              when
 you watch the complete arrest from start to finish, often described by Mr. Floyd himself.

                 1. Officer Lane startles him setting off the paraganglioma.

                2. Mr. Floyd doesn't follow directions and appears confused.

                3. Mr. Floyd has an unrealistic fear that Lane is about to shoot him.


                4. Mr. Floyd falls due to muscle weakness after getting out of his car.

         5. While sitting han-dc_uff,ed by the nearby building, officer Kueng asks Mr. Floyd if he knows why they handcuffed
                                                                                                                             him.
 Mr Floyd states, "No, why?" Officer Kueng then tells him he wasn't following their directions. Mr. Floyd'then says, "Man,
                                                                                                                             I didn't
 know what was going on" (mental confusion)

                6. Once Officer Kueng stands him back on his feet, Mr. Floyd fails again (muscle weakness)

                7' Being escorted by Officer Kueng to the squad car, Mr. Floyd states, "lt's better now; I can try to relax."

        8. When Officer Kueng tells him they qre qoing to put him in the squad car's back seat, Mr. Flyod states he
                                                                                                                     has,,Just
one problem." When one of the Officers asks Mr. Floyd's former girlfriend why he is acting this way, she says
                                                                                                                 and motions, "he
has something going on," while circling her finger around her ear (a sign of being crazy). Patients wigr cateinolamine-produiing
tumors frequently have psychiatric problems and are drug seekers.

            .
         9. Aniving outside the squad car Mr. Floyd appears tenified. He repeatedly states he has claustrophobia
                                                                                                                  and anxiety.
Yet, just minutes before, Mr. Floyd felt comfortable in his car with two other occupahts. What has cfrangedi(adrenaline/
noradrenaline surge-catecholamine crisis)

         ]0 [ar. Floyd expresses an abnormal fear of getting into the squad car, stating, "Man, l'll die if I get in there.,' Mr. Floyd
falls again' (Muscle weakness) (The heart is composed of smooth muscle. lf Mr. Floyi;s skeletal muscld
                                                                                                               is so weak, you can
surmise what is happening to his heart muscle)

    .    11. Mr. Floyd is terrified of suffocating in the car, and Officer Kueng states he will roll down the windows
air conditioning for him.
                                                                                                                      and turn on the


       12. Mr. Floyd begs Officer Kueng not to leave him alone in the car. Then Mr. Floyd states for
                                                                                                     the first time, "l can't
breathe." (He is now moribund.)

                13. Once pushed into the car, Mr. Floyd shrieks, "l can't choke..l .1.. I can't breathe. (Hysteria)

         14' Once removed from the car and placed on the ground, Mr. Floyd states, "l'm going down.,' (possibly,
                                                                                                                 this statement
reflects Mr. Floyd sensing lightheadedness or hypotensioni

      .-.15. Shortly after being placed on the pavement, Mr. Floyd voluntarily or involuntarily urinates,
curb. (Common    agonal response)
                                                                                                          which runs towards the


        16. Officers Lane and Kueng notice Mr. Floyd's nystagmus and postulate that Mr. Floyd is
                                                                                                 high on pCp (rapid side{o-
side movement of the eyes) (nystagmus is a nonspecific neurological sign, which can be seen
                                                                                            when ihe midbrain is not being
perfused optimally and other conditions.)


.       17. Mr. Floyd is now horizontal and prone, accelerating the accumulation of pulmonary
the sensation that he can't breathe. Mr. Floyd asks to stand upright. Patients with cirronic
                                                                                                 edema from heart failure and
                                                                                             heart failure frequenily sleep sitting
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                                                                                                        exT-,q               f o(ll
 up in a chair. In this upright position, the patient uses gravity to help drain the pulmonary vasculature towards the heart.

          18. Although restrained, Mr. Floyd appears freely able to breathe and verbalize that he can't     breathe ,
         19' Carefully ohserving Mf Floyd once on the pavement, he now gunts and breathes similarly to people with
                                                                                                                           Chronic
 Obstructive Pulmonary Disease (COPD) People with COPD frequently purse their lips while exhaling, causing a
                                                                                                                       slight back
 pressure in their airway, thereby keeping the lung's microscopic air sacs (alveoli) open longer. This
 backpressure helps to oxygenate their blood better.
                                                                                                       e-ver so stignt  oi
          20'. Near death, Mr. Floyd declares himself dead and tells us to tell his children he loves them. Then possibly
 hallucinating, Mr. Floyd calls out repeatedly momma, momma

          21. Mr' Floyd states, "This is how my dad died" (25o/o of paragangliomas are inherited)

   .
 relax.
          22. Mr. Floyd then expires when either Officer Lane or Kueng states, "l think he is passing out," as he feels
                                                                                                                          Mr. Floyd


        23. Approximately 30 seconds later, Mr. Floyd's leg involuntarily contracts and jerks, a typical agonal response
                                                                                                                         as the
 musculature depolarizes and relaxes.

          24. A minute or two later, the EMT and ambulance arrive.

I have no doubt that Mr. Floyd expired due to his Paraganglioma and the subsequent consequences
                                                                                                         of a catecholamine crisis.
I am simply at a loss to explain why the physicians tnai teslifieO at trial did not know or understand
                                                                                                       the signiflcance of this tumor.
You don't have to be a physician to Google search "Paraganglioma and Sudden Death." However, perna"ps
                                                                                                                  because
                                                                                                                    of my
experience as a pathologist and witnessing the consequencei of minor manipulation of an undiagnbr"O
                                                                                                        faragangtioma during-
considered an incidental finding is when the decedent's body fiuid analysis shows average tevlts of
                                                                                                        i
surgery, I may have the.expertise and insight that those other physicians didn't have. The onty viay palagangridma
                                                                                                                    can be
                                                                                                    catech6lamines.
The four Minneapolis Officers convicted for thejr roles in causing Mr. Floyd's death deserve the right
                                                                                                       to assay the differential
catecholamine levels and their metabolites and review the tissue section-s of the heart, the resuftJof
                                                                                                       which lbelieve would likely
be exculpatory evidence. The values produced by a machine (GC/Mass spect) so sensitive it
                                                                                                measures the values in a trillionth
of a gram are not subjective.

l hope that this letter finds you well. You should discuss with your attorney Minnesota statute SgO. 'POST
                                                                                                           CONVICTION
RELIEF". This act would allow you to test those catecholaminb levels, wntn in rny opinion, might
                                                                                                   exonerate you.
Sincerely;


William SchaetzelD.O. M.S. FCAP
Laboratory
1s00 sw 1oth
Topeka, Kansas 66604

CC:
Derek Chauvin
Thomas Lane
J. Alexander Kueng
Tou Thao
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                                                                                                 exF-4             bo{tl

FROM: Schaetzel. William
TO:47849509
SUBJECT: RE: I haven't forgotten
DATE: 0711912023 08:36:12 PM

Derek-
When I read the autopsy report, I noticed that Dr. Baker was dictating his findings like someone normally would document that
there was no physical evidence of asphyxia or significant trauma. The report is weird because he describes the areas that
usually would have contusions or ecchymoses as normal or unremarkable in someone who was physically asphyxiated or
beaten to death. So it is analogous to reading an article about healthy eating habits and discussing fruits and vegetables. You
think the author is about to conclude everyone should be a vegetarian, but instead they state you shouldn't forget to eat a Big
Mac with a large fry. You read that conclusion and wonder, where did that come from?

In other words, the reader of the Final Anatomical Diagnosis of the autopsy report is left scratching their head, wondering how
he concluded that the cause of death was homicide when he didn't have any of the usual gross or microscopic findings to
support his conclusion.
So I think his original (preliminary) report likely stated that the cause of F's death was indeterminate (because he was ignorant
about paragangliomas). But the D.A. strongly encouraged him the change his conclusion during their meeting. They could make
him change his decision, but they couldn't make him change the body of his report and document things he didn't see.

In short, the body of the report doesn't fit nicely with his conclusion. However, any knowledgeable and sane pathologist would
agree that a natural death should have been determined. Then all the Baker's findings at autopsy: the paraganglioma,
cardiomegaly, hypertension, accelerated atherosclerosis, cardiovascular disease, bilateral dilated ventricles, and pulmonary
edema, all fit nicely with the clinical history and the conclusion.

Dr. Bill

DEREK MICHAEL CHAUVIN on711912023 5:53:56 PM wrote
I guess another question is does the autopsy report on its face even discuss or lead to an asphyxia diagnosis/conclusion
whatsoever? lf not would the title even be incongruent with the contents? From a pure medical perspective I am asking.
---Schaetzel. William on711812023 8:21 PM wrote:



I haven't forgotten you or the other officers, but rather don't have anything new to report.
I'm still thinking of you guys....
Dr. Bill
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                                                                                                   tx l.r-4           lotll
FROM: Haney, Paul
TO:47849509
SUBJECT: RE: question
DATE: 07 12112023 08:21 :1 1 PM

I think the autopsy provides evidence that hypoxia was not present before death because of the lack of sickling. There is no
clear cut evidence for asphyxia as well as evidence of no major or minor trauma about the neck. There is clear evidence that
subsequent testing to further rule out other causes were not done. And I am told that the original autopsy report title was
changed after the FBI meeting and the other family pathologists made statements. My guess is that he was told that if he plays
their game and follows their rules that they would get the military pathologists to back him up... which they did. They did not
mention the sickling and paraganglioma.

 I made a call into Congressman Jim Jordan's office today since he is on a committee investigating FBI involvement into the
Weiner coverup, Epstein coverup, Hunter Biden coverup, Big Tech censorship/election tampering, etc. (Now it is spreading like
a contagion to the Secret Service with the cocaine in the White House coverup) | believe your case was an FBI red flag. They
just wanted a racial death during police custody to further their nanative of racial division. Unfortunately, Floyd had the
paraganglioma and sickle trait which they had to cover up with multiple false witnesses as well as hiding the body cam footage.

 I had a rough call last week and this week. I'm off tomorrow for first day in 2 weeks. I need it and my boys actually stayed home
with us tonight which was nice. I am really starting to think that big pharma has sooo much control of the medical industry now
that they are recommending toxic doses of meds to create more problems to drive more demand. I had a 27 year old female
2.5 weeks post-partum present with a bowel obstruction from an umbilical hernia. Her white blood cell count was high and her
c-section incision looked a little red. By policy, the ER docs order blood cultures--many of which turn up contaminated, but they
really didn't need to. And yes one of them came back positive (1 of 2). So they want to reculture but cover her with antibiotics
just in case. So they place her on Vancomycin which can be toxic to the ears and kidneys. The pharmacy is to dose it per
protocof . Usually we start with 1 gm every 12 hours and check levels before the third dose. Now the new protocols are based
more on weight, age, and glomerular filtration rates. Anyway, she was being taken care of by a "nurse", who in my opinion
should have been fired a long time ago but they won't because of the "shortage" and they don't want to increase wages.
Anyway, she gives 2 gms and then another 1.5 gm 5 hours later. The next shift nurse (night nurse) with even less experience
starts the 3rd dose without checking the vanco level. Yes, the new mom went into renalfailure. I'm sMH and crying. This
should be a never event. And we found out it was a contaminant. The nurse is from another country and just got her nurse
practitioner's license....SMH. I think the pharmaceutical companies are pushing higher dosages, policies, protocols, etc that
make medicine dangerous. Same thing with blood clots and anticoagulation. I saw covid patients over anticoagulated in the
 ICU and die of bleeding. We used to be a good hospital, but I think our administrators want their bonuses more than quality
healthcare. Do you understand what I am saying?

Shabbat Shaloam and don't get sick ;)

DEREK MICHAEL CHAUVIN on711912023 9:05:47 PM wrote
I guess from a pure medical perspective does the autopsy report even mention or show that an asphyxia took place? lf not
would the title then be incongruent with the body of the report? As if the title is slapped on after to sound good but be kind of
vague.
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TRULfNCS 47849509 - CHAUVIN, DEREK MICHAEL - Unit: TCN-S-E
                                                                                                exu-,q              B orll

FROM: Mohrman. William
TO:47849509
SUBJECT: RE: information needed
DATE: 0810812023 08:36:18 AM

Derek:

Here are the answers:

What was the exact date a petition to the MN Supreme Court was filed? May 17,2023.

Can you advise again of the issues raised in that appeal in case any were changed out please? None.

Do you have further access to have documents from the state trial discovery sent here including trial exhibits? lf so could
documents be sent here? I have the documents admitted into evidence. I do not think I have alt of tne discovery documents.
The appeal is based on the record of documents submitted to the trial court.

Would you be able to look up the exact dates in the federal case for the original indictmenUarraignment and the date for
                                                                                                                         the
change of plea hearing and advise me of those dates? I was told this could be looked up under-v/VWV.pAcER.GoV for 21-cR-
108 under my name and number of 47849-509. Indictment May 6,2021- Unsealed May 7,2021. you entered a guilty plea
                                                                                                                             on
December 15.2021.

Would you also be able to look up the specific date for the actualjudgement filed in federal court for the criminal case?
                                                                                                                          lt
should be on or after July 7 2022? This would have been the sentente date. Sentencing judgment was entered on July
                                                                                                                            7,
2022.

I received some vague jnformation on a possible amendment to a judgement filed sometime in May
                                                                                                2023. could you look up
that exact date for that item? Also did the language read it is an "imended judgement"? Amendei Sentencing was
                                                                                                                       entered on
May 9,2023.

Would you mail a copy-of the petition for the lr/N Supreme Court filing as I don't believe I have that?
                                                                                                        Would you also mail the
copy again of the MN Court of Appeals filing? | had mailed some pages back to your office some time
                                                                                                         ago anO dont have the
complete packet. Yes.

Would you also look up and mailthe exact statute descriptions directly from the MNREVISOR website for
                                                                                                       second degree
murder, third degree murder, second degree manslaughter as well asthird degree assault along with definitions
                                                                                                              that would be
contained within such as great bodily harm, substantial bodily harm, etc? These would be founi unoer
                                                                                                     cnafier 60g criminal
code. Yes.

when you be available to discuss other matters on a phone call? of course

Thanks for reading and hope to hear back soon.

DEREK MICHAEL CHAUVIN onTl19t2023 6:24:3T pM wrote
I was looking for several items of important information to move forward with.


what was the exact date a petition to the MN supreme court was filed?

Can you advise again of the issues raised in that appeal in case any were changed out please?

Do you have further access to have documents from the state trial discovery sent here
                                                                                      including trial exhibits? lf so could
documents be sent here?

Would you be able to look up the exact dates in the federal case for the original indictmenVarraignment
                                                                                                        and the date for the
change of plea hearing and advise me of those dates? | was told this could be looked up under-www.pAcER.GoV
                                                                                                                      for 21-cR-
108 under my name and number of 4784g-50g.

Would you also be ableto look up the specific date for the actual judgement filed in federal
                                                                                             court for the criminal case? lt
should be on or after July 7 2022? This would have been the sentence date.
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TRULINCS 47849509 - CHAUVIN, DEREK MICHAEL - Unit: TCN-S-E
                                                                                             exA-A               l oL ll
I received some vague.information on a possible amendment to a judlement filed sometime in May 2023. couldyou
                                                                                                              look up
that exact date for that item? Also did the language read it is an "imenOeO judgement"?

Would you mail a copy of the petition for the MN Supreme Court filing as I don't believe I have that? Would you also mail the
copy again of the MN Court of Appeals filing? I had mailed some pages back to your office some time ago and don't have the
complete packet.

Would you also look up and mail the exact statute descriptions directly from the MNREVISOR website for second degree
murder, third degree murder, second degree manslaughter as well as third degree assault along with definitions that would be
contained within such as great bodily harm, substantial bodily harm, etc? These would be found under chapter 609 criminal
code..

When you be available to discuss other matters on a phone call?

Thanks for reading and hope to hear back soon.
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TRULINCS 47849509 - CHAUVIN, DEREK MICHAEL - Unit: TCN-S-E
                                                                                                 exb-A lu'tll

DEREK MICHAEL CHAUV|N on 8/1412023 f :36:31 PM wrote
You previously wrote that emails were sent in an attempt to contact the state prosecutors office, medical examiners office, and
the office for Nelson. Would you still have any outgoing messages to any of the offices in the sent email box? Not sure how
long messages might stay for each type of email provider. Or if nothing from the time of trial, would there be anything sent after
the fact? Let me know when you can please. Thanks.
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TRULfNCS 47849509 - CHAUVIN, DEREK MfCHAEL - Unit: TCN-S-E
                                                                                                   eKH-4               llo{ll
FROM: Schaetzel, William
TO:47849509
SUBJECT: RE: email
DATE: 081'1412023 04:21:06 PM

Derek-

I found one of the emails I sent out. lt was sent 4117l21and was emailed to: citizeninfo@hennepin.us,
4thjudgeCahillChambers@courts.state.mn.us, joan.jung@hennepin.us, and enelson@halbergdefense.com Here is the exact
(with all the mispelled words) that was sent.


I am Dr' Bill Schaetzel, a community pathologist from Topeka, Kansas. I am in town after receiving medical
                                                                                                            care at Mayo Clinic.
While convalescing I was watching the trial of Mr. Chauvin. I reviewed the autopsy report signed Oiy Dr. Aaker.

Inoted in the autopsy report that Mr. Floyd had a Paraganglioma. I could not see where a metanephrine level was done on Mr.
Floyd's body fluids. I know that Dr. Baker stated
                                                  lhgt the Paraganglioma was an incidental finding. That would be true only if his
metanephrine levels were normal. Unfortunately I don't have access to the medical record and can't see if they
                                                                                                                were in fatt
preformed.

Patients with Paraganglioma are at a significant risk for sudden death. lf someone pushed on the tumor or if it
                                                                                                                    was manipulated
during the altercation with police, a sudden            of Norepinephrine  could  have caused a fatal arrhythmia with
                                              1elease                                                                 acute heart
failure. Since Mr. Floyd's tumor was near his   belt line, this tangerine sized tumor could have been eisily compressed when Mr.
Floyd resisted getting into the patrol car. That would have cauled a sudden surge of catecholamines inio his
                                                                                                                   bloodstream,
causing a feeling of doom and claustrophobia. The surge of catecholamines co'ild haue precipitated Takotsubo
                                                                                                                      cardiomyopathy
(broken heart syndrome), which would have caused sudden acute heart failure. Within minutes, Mr. Floyd
                                                                                                               would have been
developing pulmonary edema and experienced difficulty in breathing.

Stricken with this surge of catecholamines Mr. Floyd would have become confused, delirious, panicky, with
                                                                                                             an overuvhelming
sense of doom. Mr. Floyd's desire to lie down was not the best choice for someone with acute heart failure.
                                                                                                               Lying prone on-the
ground would just increas"d       pulmonary edema and difficulties breathing. In the prone position Mr. Floyd's itaiagangltoma
                              li!
was between the asphalt and his Psoas muscle.
When officers then knelt on him they would have further compressed the tumor, releasing more catecholamines
                                                                                                                   which may
have caused sudden cardiac spasm and seizure with asystole and sudden death.

This possible senario would explain the autopsy findings of Pulmonary edema, and hypertensive
                                                                                                      cardiac disease with the
history of chronic back pain, and clinical findings of sense of panic, doom, claustrophobia, difficulty
                                                                                                        breathinjand sudden death.
 I do not have a horse in this race. I do not want to step on Dr. Baker's toes. He has
                                                                                       a tough job and I know it. I want only
justice. lf the metanephrine and catecholamine levels were preformed, I would appreciate you
                                                                                             if    would publish them. lf by
chance they have not been done, please do so.

Please protect my identity. I do not wish to become famous.

Letjustus be served;

Dr. BillSchaetzel
Pathologist
785-760-5425


Derek; after I got no responseto my email, l_then started calling the parties. I spoke with
                                                                                            cahill's legal assistant, an
investiogator with the Medical examiners office, but I could neier get through to Nelson.
                                                                                             I contacted another attorney (Mr.
ventura) who was very nice and said he would call someome in N-elso's ofdce, who was
                                                                                            a friend of his. Still geting no responce,
I later called Lane's attorney and Keung's attorney.

I hope this helps
D. Bill
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                                                                 Ex tl-s       lo{lj
                                    HENNEPIN COUNTY
                                MEDICAL EXAMINER'S OFFICE
                                    AUTOPSY REPORT                          IW:
                                                                            "....T{,,:''

                                                                 ME NO.: 20-37 00

 rr^cE rrrr
 VN,L       E.
       IIILL.     CARDTOPULMONARY ARRnST COMPLICATTNG LAW ENFORCEMENT
                  SUBDUAL, RESTRAINT, AND NECK CoMPRESSIoN
 DECEASED: George Floyd aka Floyd Perry                  SEX:   M AGE: 46
 DATEANDHOUROFDEATH: 5-25-20; 9225 p.m.
 DATEAND HOUROFAUTOPSY: 5-26-20; 9:25 a.m.

 PATHOLOGIST: Andrew M. Baker, M. D.



FINAL DIAGNOSES:

46-year-old man who became unresponsive while being restrained by law
enforcement officers; he received emergency medical care in the fleld
and subsequently in the Hennepin HealthCare (HHC) Emergency
Department, but coul-d not be resuscitated.
I.      Blunt force ln-iuries
        A.    cutaneous blunt force injuries of the forehead, face, and
              rlr.lner rrI
                       I 'i o

        H    Mucosal injuries of the lips
        (-    Cutaneous blunt force injuri_es of the shoulders, hands,
             elbows, and legs
        D.   Patterned contusions (in some areas abraded) of the wrists,
             consist.ent with restraints (handcuffs)
If.    Natural diseases
        A    Arterioscl-erotic heart disease, multifocal, severe
        H    Hypertensive heart disease
             1.      Cardiomegaly (540 g) with mild biventricular
                     dil-atation
             2.      Clinical history of hypertension
       ('    Left pelvic tumor (incidental, see microscopic description)




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                                                 Georqe Floyd
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                                                 Page 2

III. No life-threatening injuries identified
     A. No facial, oral mucosal-, or conjunctlval petechiae
     B. No injuries of anterior muscl-es of neck or laryngeal
           struct,ures
      C.   No scalp soft tissue, skull, or brain injuries
      D.   No chest wall soft tissue injuries, rib fractures (other
           than a single rib fracture from CPR), vertebral column
                injuries, or visceral injuries
      E. Incision and subcutaneous dissectj-on of posterior and
                lateral- neck, shoulders, back, flanks, and buttocks
               negative for occult trauma
 fV. Viral testing (Minnesota Department of Health, postmortem nasal-
     swab col-lected 5/26/2020) z positive for 2019-nCoV RNA by PCR
      (see \Comments, ' bel-ow)
\7   rrsrllvy---in
     lJamaa'l     ahl      S quantitation (postmortem femoral b1ood, HHC
     Laboratory) : 38% (see \Comments,, below)
vr. Toxicology (see attached report for fulr details; testing
     performed on antemortem blood specimens collected 5/25/20 at
     9:00 p.m. at HHC and on postmortem urine)
     A. Blood drug and novel psychoactive substances screens:
               l-. Fentanyl 11 nglml
              2. Norfentanyl 5.6 nglml,
              3. 4-ANPP 0.65 ng/mL
              4. Methamphetamine L9 ng/mL
              5. 11-Hydroxy De1ta-g THC L.2 ng/mL;
                          Delta-9 Carboxy THC 42 ng/mL; Delta-g THC 2.9 ng/mL
              6. Cotinine positive
              7. Caffeine positive
     B. Bl-ood volatiles: negative for ethanol, methanol,
              .i
              J_Sopropanol,
                 ^^^-^*^.      '
                                  or acetone
     c. urine drug screen: presumptive positive for cannabinolds,
           amphetamines, and fentanyl/metabol-ite
     D.    Urine drug screen confirmation: morphine (free) B6 nglm],
                                                                        006784
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                                                                             EXlr-B 3o{lS




                                                       George Floyd
                                                       ZU_5 IUU
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comments: The finding of sickled-appearing cell-s in many of the
autopsy tissue sections prompted the Hemoglobin S quantitation
reported above. This quantitative resul-t is indicative of sickle
cell trait.   Red blood cells in individuals with sickle cel-l trait
are known to sj-ckle as a postmortem artifact. The decedent's
antemortem peripheral blood smear (made from a complete blood count
coll-ected 5/25/20 at 9:00 p.m. ) was reviewed by an expert HHC
hematopathologist at the Medical Examiner's request. This review
found no evidence of antemortem sickling.
The decedent was known to be positive for 2019-nCoV RNA on 4/3/2020.
Since PCR positivity for 2019-nCoV RNA can persist for weeks after
the onset and resolution of clinical disease, the autopsy result most
1ike1y reflects asymptomatic but persistent PCR positivity from
previous infection.
                                                                  6/1/2020

                                         ta-\
                                  x     Asl---""e-
                                  Andrew M. Baker, M.D.
                                  Chief Medical Examiner
                                  Siqned bu Andrew M. Baker MD
                                 In accordance with HCME policy, this report was
                                 reviewed by another board-certified forensic
                                 pathologist pr.i-or to release.




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                                                 George Floyd
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IDENTIFICATION:

Positive identification is confirmed by comparison of antemortem
and postmortem fingerprints (Federal- Bureau of Investigation) .
EXTERNAL H(AMINATION:

When initially  examined, the body'is in a seal-ed/locked and
properly labeled body bag. Evidentiary paper bags are secured
over the hands.
The body is that of a normally developed, muscular and
adequately nourished appearing, 6 feet 4 inch long, 223 pound
male whose appearance is consistent with the reported age of 46
years. Unfixed llvidity is present on the posterior dependent
surfaces of the body, except in areas exposed to pressure.
Rigor mortis is established in all of the major muscle groups,
relenting with modest pressure. The temperature is somewhat
cool following refrigeration.
The scalp is covered with closely cropped black halr in a normal
distribution, with some early vertex thinning. The irides are
brown, and the pupils are round and equal in diameter. The
conjunctivae are somewhat injected, but there are no bul-bar or
palpebral conjunctival petechiae. There are no facial-,
periorbital, or oral mucosal petechi-ae. The external auditory
canaLs are free of bl-ood. The lobe of the left ear is remotely
pierced once; the ears are otherwise unremarkable. The nares
are patent. The nasal and facial bones are stable to palpation.
A faLnt, 2 cm maximum dimension V-shaped scar is near the
superior end of the left jawline. The teeth appear native and
in good repair. Very short black mustache and beard stubble is
in the usual dlstribution on the face, and a small patch of
slightly longer black beard hair ie irrqt- inferior to the lower
lip.
The neck 1s straight, and the trachea is midl_ine. A 0.6 cm
diameter circular gray-brown scar is over the middle of the left
clavicle. The chest is symmetri-c. The abdomen is flat. The
external genitalia are those of a normal adult male. The testes
are descended and free of masses. Pubic hair is present in a
normal distribution. The back, buttocks, and anus are
unremarkable.
The upper and lower extremities are symmetric and free of
clubbing, edemar or absence of digits. Six faint,
hypopigmented, haphazardly oriented l-inear scars ranging up to
1.2 cm long are scattered across the dorsum of the right

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                                                 George Floyd
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                                                 Page 5

 forearm. Approximately eight gray-tan foci of heal-ing injuries
 (scars) ranging up to 0.8 cm maximum dimension are scattered
across the dorsum of the right hand. Two similar appearing
healing injuries (scars), each l- cm maximum dimension, are on
the anteromedial right wrist. A similar appeari-ng, obliquety
oriented 2 cm long linear healing injury (scar) is on the medial
right wrist. The skin of the first dorsai- webspace on the right
hand has a 4.5 cm maximum di-mension area of brown
hyperpigmentation and gray-tan hyperkeratosis. An B cm maximum
dimension area of brown hyperpigmentation and gray-tan
hyperkeratosis spans the first dorsal webspace on the l-eft hand,
and has flve superimposed healing linear skin cracks ranging up
to I.2 cm long. Similar gray-tan, scar-l_ike areas are on the
dorsum of the left hand (over the left 2nd and 3rd
metacarpophal-angeal joints and the webspaces between the
fingers) and wrist in areas ranging 0.2 to 2 cm maximum
dimension. A 4 cm maximum dimension flat tan scar is on the
dorsum of the left hand over the 5th metacarpal. The nails of
the hands are cut or chewed extremelv short.
A 4 cm maximum dimension horizontally oriented linear brown scar
 is over the anterj-or right hip. A 0.5 cm maximum dimension
macular brown nevus is over the anterior right hip. Two flat,
hyperpigmented patches, I.2 and 2 cm maximum dimension, flank
the left side of the waistline. A 1.5 cm maximum dimension
hypopigmented ova.l- scar is over the right knee. Approximately
nine haphazardly oriented linear hypopigmented scars ranging up
to 2 cm maximum dimension are scattered over and just inferj-or
to the rlght knee. Approximately nine hyper- and hypopigmented
l-inear and oval scars ranging up to 2 cm maximum dimension are
over the right shin. A faint, 1.5 cm maximum dimension hyper-
and hypopigmented scar is on the posterolateral left thigh.
Five hypopigmented linear scars ranging up to 5 cm maximum
dimension are over, just superior to, and just j-nferolateral to
the left knee. A 3 cm maxj-mum dimension area of slight skin
darkeni-ng associated with hair follicle plugging is on the
distal left calf. The nails of the toes are somewhat elongated,
markedly thickened, and discolored yerlow-brown. The sol-es of
the feet and the posterior heels are somewhat hyperkeratotic and
desiccated appearing, particularly on the right.




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                                                     Page 6
TATTOOS:
                                                                I


o        A 42 cm maximum dimension monochromatic blue tattoo of an
         eagle holding a rifle spans the upper chest, from shoulder
         to shoulder and from the inferior neck to the distat
         sternum.
o       An 11 cm maximum dimension monochromatic blue tattoo of a
        pair of praying hands is on the epigastric abdomen.
.       A 9 cm maximum dimension monochromatic blue tattoo of the
        name "LAURA" is on the right upper abdomen.
o       A l-0 cm maximum dimension monochromatic blue tattoo of the
        name "CISSY" is on the left upper abdomen.
o       A 28 cm maxi-mum dimension monochromati-c blue tattoo of the
        name *FLOYD" spans both sides of the abdomen just superior
        to the umbilicus.
o       A 10 cm maximum dimension monochromatic blue tattoo of what
        appears to be a gravestone with some l-etters and numbers
        and the l-etters "R.I.P." is on the anterior right forearm.
.       A 12 cm maximum dimension monochromatic blue tattoo of two
        stars and what appears to be the name ,,Brittney,, and the
        Ietters "R.f.P." is on the proximal anterior left forearm.
r       A 20 cm maximum dimension patterned monochromatic blue
        tattoo spans the anterior, Iateral, and posterior aspecLs
        of the left forearm.
CLOTHING AND PERSONAL EFFECTS:

The followlng clothing items are received with the body in the
body bag, in a hospital patient belongings bag, and examined
separate from the body at the start of the postmortem
examination:
.       Size XXL "Nike" brand blue track pants, extensively cut
        apart (presumably for medical intervention)
.       A black ribbed sleevel-ess t-shirt (no tag), extensivery cut
        apart (presumably for medical intervention)
o       Size 3XL "Starti_ng 5" brand black and gray sweatpancs,
        extensi-vely cut apart (presumably for medical intervention)
o       ff pair of black dress socks, one with a gray heel and gray
        toe box




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                                                                            exn -g ) o{ 13
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                                                                !
                                                                   l nrrd

                                                     20-31 00
                                                     Page 7
    MEDICAL INTERVENTION:

    o    Oral endotracheal tube, correctly positioned in the trachea
          and held in place on the face with a white and tan plastic
         and elastic band
    o    Thoracostomy incision (3.6 cm maximum dimension, somewhat
         ragged and V-shaped), right lateral chest (approximately
         six superficial punctures and cuts, ranging from pinpoint
         to 1.5 cm long, are adjacent to the thoracostomy)
o        Thoracostomy incision (3.9 cm long, somewhat ragged and
         linear), left lateral chest (a pinpoint cut or puncture is
         just inferior to the thoracostomy)
o        Curvilinear orange abrasions centered over the sternum
          (10 cm maxj-mum dimension aggregate), consistent with
         cardiopulmonary resuscitation
o        rntravascular catheter with attached segment of tubing,
         taped in place just proximal to the left ant.ecubital fossa
          (the tape associated with this catheter has created a
         localized area of skin slippage in the l_eft antecubital-
         fossa )
o        Needle puncture, just distal to the left antecubital fossa
o        rntraosseous catheter with attached tubing, right tibia
o        Intraosseous catheter with attached tubing, left tibia
o        Intravascul-ar catheter with attached tubing, taped in place
         on the right groin
o        Hospital tag, right great toe
o        Hospital bracelets (2), right wrist
o        Needle puncture, left groin
o        Minimally hemorrhagic horizontal- fracture in the srernum,
         consistent with cardiopulmonary resuscitation
o        Non-hemorrhagic fracture of the anterior left 4th rib,
         consistent with cardiopulmonary resuscitation
EVIDENCE OF INJURY:

Head and Neck
o        Q cm maximum dimension abraded red-black-purple contusion,
         l-ateral corner of left brow
o        Pinpoint red abrasion, just l_eft of the midline of the
         forehead
.        6.5 cm maximum dimension red-black abrasion, teft cheek
.        0.6 cm maximum di-mension red abrasj-on, just inferior to
         left corner of mouth
r        0.8 cm maximum dimension curvilinear red avulsion, just
         superior to right side of upper lip

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                                                    George Floyd
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.        Eight pinpoint to 0.2 cm maximum dimension red abrasions,
         right side of nose
o        Fai-nt blue contusions on the body of the nose (3.5 cm) ,
         !!vrr'..oiis
         -.i ^l^+     (1.5 cm) , and ]eft naris (1.0 cm)
o        1.5 cm maximum dimension aggregate of pink-purple mucosal
         abrasions and lacerations, upper lip
o        2 cm maximum dimension aggregate of pink-orange mucosal
         abrasions and lacerations, lower 1ip
ShouLders and Extremit:es
o       $ cm maxi-mum dimensi-on purple contusion with 4 .5 cm maximum
        dimension aggregate of linear red abrasions, anterolateral-
        right shoulder
o       I cm maximum dimension red L-shaped scratch, superior right
        shoulder
o       l4 cm maximum di-mension pink-purple contusion with a
        discontinuous B cm maximum dimension dried red-black
        abrasion, left shoulder
.       4.2 cm maximum dimension red abrasion, just medial to the
        right elbow
o       I cm maximum dimension faint pink contusion, just medial to
        the left elbow
o       Plnpoint red abrasion, just medial and distal to the left
        el-bow
o       1.5 cm maximum dimension purple contusion, proximal right
        shin
o       2.5 cm maximum dimension aggregate of red abrasions, distal
        right shin
o       0.3 cm maximum dimension red abrasion over the l-eft calf
Wrists and Hands
.       L.4 cm maximum dimension red and dried black abrasion,
        dorsum of proximal interphalangeal joint, right index
        finger
o       Two 0.8 cm maximum dimension red and focally dried bl-ack
        abrasions, dorsum of proximal interphalangeal joint, right
        middle finger
o       Circumferential, discontinuous, 3.5 cm maximum width,
        roughly parallel pink-purple contusj-ons encircling the
        right wrist, with areas of superimposed abrasj-ons up to I.2
        cm maximum dimension; a 0.9 cm long superficial red scratch
        is on the lateral right wrist. between the patterned
        contusion and the hand


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                                                 George Floyd
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      Circumferential, discontinuous, 2.5 cm maximum width,
      roughly parallel pink-purple contusions encircling the left
      wrist, with areas of superimposed abrasions up to 1.3 cm
      maximum dimension
             On the anterolateral- left wrist, in a 3.5 cm long
             area, the injury transitions to a dried yellow-black
             abraded furrow before blendinq into the anterior wrist
             -ra:   qa

      2.2 cm maximum dimensi-on purple contusion, dorsum of left
      hand

INTERNAL EXAMINATION:

HEAD: The soft tissues of the scalp are free of injury.           The
calvarium is intactr ds is the dura mater beneath it. Clear
cerebrospinal fluid surrounds the 1380 g brain, which has
unremarkable gyri and sulci. Coronal sections demonstrate sharp
demarcation between white and gray matter, without hemorrhage or
contusive injury. The ventricles are of normal size. The basal
ganglia, brainstem, cerebellum, and arterial systems ale free of
injury or other abnormalities. There are no skul-I fractures.
The atlanto-occipital joint is stable.
NECK:, Layer by layer dissection of the anterior strap muscles of
the neck discloses no areas of contusion or hemorrhage within
the musculature. The thyroid cartilage and hyoid bone are
intact. The larynx is lined by intact mucosa. The thyroid is
symmetric and red-brown, without cystic or nodular change. The
tongue is free of bite marks, hemorrhager or other injuries.
The cervical spinal column is palpably stable and free of
hemorrhage.

BODYCAVITIES: Except as previously noted, the ribs,         sternum, and
vertebral- bodies are vj-sibly and palpably intact. Stripping of
the parietal pleura reveals no occul-t rib fractures. No excess
fluid is in the pleuraI, pericardial, or peritoneal cavitj_es.
The organs occupy their usual anatomic positions. Adjacent to
the left external 1liac vessels and left psoas muscle (but not
apparently arising from them or attached to them) is a firm,
4 cm maximum dimension thinly encapsulated mass consisting of
red-brown and fleshy white-gray areas, admixed with centrally
scarred and calcified areas.
RESPIRATORYSYSTEM: The right    and left lungs weigh 1085 and
1015 g, respectively.  The external surfaces are pink only on the
most anterior aspects, and deep red-purple in all other areas.
The pulmonary parenchyma is diffusely congested and edematous.

                                                                        006791
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                                                     George Floyd
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                                                     Haoe Iu

No mass lesions or areas of consolidation are present. The
pulmonary vascular tree is free of thromboemboli. The
tracheobronchial tree is free of blood, edema fluid, or foreign
material.
CARDIOVASCULARSYSTEM:  The 540 g heart (upper limit of normal for
body length is 510  g; upper l-imit of normal for body weight is
521 g)1 is contained in an intact pericardial sac. The
epicardial surface'is smooth, with modest fat investment. The
coronary arteries are present in a normal distribution, with a
right dominant pattern. Cross sections of the vessels show
multifocal atherosclerosis, with 758 proximal and 758 nid
narrowing of the left anterior descending coronary artery; J5e"
proximal narrowing of the 1-st diagonal branch of the left
anterj-or descending corohary artery; 252 proximal narrowing of
the circumfl-ex coronary artery; and 908 proximal narrowing of
the right coronary artery. The myocardium is homogeneous, red-
brown, and firm. The val-ve leaflets are thin and mobile. The
walls of the left and right ventricles are L.2 and 0.4 cm thick,
respectively. The endocardium is smooth and glistening. Both
ventricular cavities are mildly dilated. The minimally
atherosclerotic aorta gives rise to three intact and patent arch
vessels. The renal- and mesenteric vessels are unremarkable.
LIVERANDBILIARYSYSTEM:The 2565 g liver has an intact, smooth
capsule and a sharp anterior border. The parenchyma is tan-
brown and congested, with the usual lobular architecture. No
mass lesions or other abnormalities are seen. The gallbladder
contains a moderate amount of green-black bil-e and no stones.
The mucosal surface is green and velvety. The extrahepatic
biliarv tree is patent.
SPLEEN: The 140 g spleen has a smooth, intact, red-purple
capsule. The parenchyma is maroon and congested.
PANCREAS: The pancreas is      firm and yellow-tan, with the usua1
Iobular architecture.       No mass lesions or other abnormalities


ADRENALS: The right and l-eft adrenal glands are symmetric, with
bright yellow cortices and gray medullae. No masses or areas of
hemorrhage are identified.


r Kitzman DW, Scholz DG, Hagen PT, et al-. Age-related changes in normal human
hearts duri-ng the first 10 decades of life. Part II (maturity): a
quantitative anatomic study of 765 specimens from subjects 20 to 99 years
o1d. Mayo Clin Proc. 1988; 63t 131-146.

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                                                    George Floyd
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                       The right and left kidneys weigh 205 and
    GENITOURINARYSYSTEM:
 225 g, respectively. The external surfaces are intact and
 smooth. The cut surfaces are red-tan and congested, with
 uniformly thick cortices and sharp corticomedul_lary junctions.
 The pelves are unremarkable and the ureters are normal in course
 and caliber. White bl-adder mucosa overlies an intact bladder
 wal-l-. The bl-adder contains approximately 80 mL of yellow urine.
 The prostate is norma1 in size, with lobu1ar, ye1low-tan
 parenchyma. The seminal vesicles are unremarkable. The testes
 are free of mass lesj-ons, contusions, or other abnormalities.
GASTROINTESTINALTRAGT: The esophagus is intact and lined by
smooth, gray-white mucosa. The stomach contains approximately
450 mL of dark brown fluid with innumerable soft fragments of
gray-whj-te food particulate matter resembling bread. The
gastric wall is intact. The duodenum, loops of small bowel,
and col-on are unremarkab.l-e. The appendix is present.

SPECIAL PROCEDURES:

Incision and subcutaneous dissectlon of the anterior and lateral
aspects of the wrists demonstrates no foci of contusion or
hemorrhage deep to the skin on the right. In the teft wri_st,
there is multifocal fascial hemorrhage, with approximately 3 mL
Iiquid blood accumulation, in the tissue surrounding the flexor
tendons. The exposed wrist muscul-ature itself appears free of
inj ury.
An incision from the back of the head to the lower back,
extending onto both buttocks, is dissected subcutaneously to the
lateral aspects of the neck, the shoulders, and flanks. No
areas of subcutaneous hemorrhage, soft tissue contusion, or
other occult injury are found in the posterj-or neck, right and
left lateral neck, shoulders, back, flanksr er buttocks.
ADDITIONAL PROCEDURES:

        Documentary photographs are taken.
        Postmortem specimens col-l-ected and retained: vitreous
        fluid, femoral blood, urine, Ii-ver, and gastric contents.
        Representative tj-ssue biopsies are retained in formalin for
        microscopic examination.
o       The dissected organs are returned to the body.
o       Pul-Ied head [si rc :ra n] rnarl in a labeled,   sealed envelope.
AB/SB: 5/27 /20




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MICROSCOPIC EX,AMINATION:

HEART(3-5): Cross sections of left ventricular, right
            ventricular, and interventricular septal
            myocardium are examined and show the expected
            mj-croscopic architecture, with readily visible
            boxcar nuclear changes in the septal and left
            ventricular sections. Cross sections of coronary
            arteries, though not all ideally oriented,
            confirm the gross impression of atheroscl-erotic
                  narrowing.
LUNGS    (6):     Sectj-ons of right and Ieft lung show generally
                  normal- overall architecture, without malignancy,
                  pneumonia, granulomatous inflammation r or
                  polarizable intravascular foreign materj-al. Many
                  sma11 vessels contain rounded clear vacuoles,
                  consistent with bone marrow embol-ism from
                  cardiopulmonary resuscitation.
LIVER(7):         No significant pathologic abnormality (marked
                  congestion) .
SPLEEN   (7):     No significant pathologic abnormality.
KIDNEY(8):        No significant pathologic abnormality (marked
                  congestion).
PANGREAS(8): No significant pathologic abnormality.
ADRENAL   (9):    No significant pathologic abnormality (marked
                  congestion).
SPLEEN   (9):     No significant pathologic abnormality (marked
                  nanrro<l- i nn \

BRAfN   (10-121: Sections of hippocampus, cerebellum, cerebra]
                 cortex, and midbrain show the expected
                 microscopic architecture, wj-thout hypoxic-
                 ischemic, reactive, neoplastic, or infl-ammatory
                  changes.
LEFT PELVIC
MASS(1,2):        Decalcified (1) and routinely fixed (2) sections
                  show a proliferation of generally bland appearing
                  cells with small to moderate amounts of
                  eosinophilic cytoplasm and generally uniform
                  nuclei with neuroendocrine features. Occasional

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                 nuclei show mild pleomorphism, but mitotic
                 activity is not seen. Much of the tumor is
                 composed of cell-s in sheets, cords, and nests in
                 a carcinoid-like pattern; other areas vary from
                 vascular to scl-erosed and fibrotic.  Taken
                 toget.her, the gross and mlcroscopic (H&E-stains)
                 features of the lesion are most suggestive of an
                 extraadrenal- paraganglioma. AFB and GMS stains
                 are non-contributorv.
NOTE:            Many of the above tjssue sections, particularly
                 those noted to have congestion, contain sickl-ed-
                 appearing red bl-ood ceJ-Ls.




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                                             200 Welsh Road, Horsham, PA'19044-2208
                                            Phone: (215) 657-4900 Far (215) 657-2972
                                                     e-mail: nms@nmslabs.com
                                      RobertA. Middleberg, PhD, F-ABFT, DABCC-TC, Laboratory



Toxicology Report                                                      Patient Name FLOYD, GEORGE
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                                                                       Age 46 Y            DOB 1011411973
 To: 148889                                                            Gender    Male
       Hennepin County Medical Examiner                                Workorder 20159963
       530 Chicago Avenue

       Minneapolis, MN 55415                                           Page 1 of 7




 Positive Findings:

     Compound                                              Result                Units         Matrix Source
     Caffeine                                              Positive              mcg/mL        001 - Hospital Blood
     Cotinine                                              Positive              ng/mL         001 - HospitalBlood
     4-ANPP                                                0.65                  ng/mL         003 - Hospital Blood
     11-Hydrory Delta-9 THC                                1.2                   ng/mL         001 - Hospital Blood
     Delta-9 Garbory THC                                   42                    ng/mL         001 - Hospital Blood
     Delta-9 THC                                           2.9                   ng/mL         001 - Hospital Blood
     Methamphetamine                                       19                    ng/mL         001 - Hospital Blood
     Fentanyl                                              11                    ng/mL         001 - Hospital Blood
     Norfentanyl                                           5.6                   ng/mL         001 - HospitalBlood
     Cannabinoids                                          Presump Pos           ng/mL         012 - Urine
     Amphetamines                                          Presump Pos           ng/mL         012 - Urine
     Fentanyl / Metabolite                                 Presump Pos           ng/mL         012 - Urine
     Morphine - Free                                       86                    ng/mL         012 - Urine


    See Detailed Findings section for additional information

Testing Requested:
    Analysis Code                            Description
    8050u                                    Postmortem, Urine Screen Add-on (6-MAM Quantification only)
    90968                                    Alcohol Screen, Blood (Forensic)
    82't0B                                   Novel Psychoactive Substances (NPS) Screen 2, Blood
    8052B                                    Postmortem, Expanded, Blood (Forensic)
    87568                                    Novel Psychoactive Substances (NPS) Screen 1, Blood

Specimens Received:
    lD Tube/Container Volume/ Gollection                                   Matrix   Source           Miscellaneous
                                       Mass          Date/Time                                       Information
   001 LavenderVial                    2.8 mL 051251202021:00 Hospital Blood
   002 Gray Vial                       0.6 mL 0512512020 21:00 Hospital Blood
   003 LavenderVial                    5.75 mL 051251202021:00 Hospital Blood
   004 Light Blue Vial                 2.5 mL  051251202021:00 Hospital Blood
   005 Green Vial                      1.3mL O51251202021:0O HospitalBlood
   006 Red Val                         0.75 mL 051251202O 21:00 Hospital Serum or Plasma
   007 Gray Top Tube                   8.8 mL  051261202Q 12:20 Femorat Btood
   008 Gray Top Tube                   8.8 mL  051261202012:20 Femoral Blood
   009 Gray Top Tube                   8.8 mL  051261202012:20 Femorat Btood
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      lD Tube/Container                  Volume/       Collection               Matrix Source                Miscellaneous
                                         Mass          Dateffime                                             lnformation
      010 Gray Top Tube                  8.8 mL        051261202012:20 FemoralBlood
      011 Gray Vial                      3.3 mL        051261202012:20 FemoralBlood
      012 Yellow Vial                    7.75mL        0512612A2012:20 Urine
      013 Yellow Vial                    7.75 mL       051261202012:20 Urine

      All sample volumes/weights are approximations.
      Specimens received on 0512812020.


Detailed Findings:
                                                                          Rpt.
  Analysis and Comments Result                          Units             Limit        Specimen Source              Analysis By
  Caffeine                        Positive               mcg/ml          O.20         001 - Hospital Blood          LC/TOF-MS
  Cotinine                        Positive               ng/ml           200          001 - Hospital Blood          LC/TOF-MS
  4-ANPP                          0.65                   ng/ml           0.10         003 - Hospital Blood          LC-MS/MS
                   THC
  11-Hydroxy Delta-9              1.2                    ng/mL           1.0          001 - Hospital Blood          LC-MS/MS
  Delta-9 Carboxy THC             42                     ng/mL           5.0          001 - Hospital Blood          LC-MS/MS
  Delta-9 THC                     2.9                    ngimL           0.50         001 - Hospital Blood          LC-MS/MS
 Methamphetamine                  19                    ng/mL            5.0          001 - Hosoital Blood          LC-MS/MS
 Fentanyl                         11                    ng/mL            0.10         001 - Hospital Blood          LC-MS/MS
 Norfentanyl                      c.o                   ng/mL            4.20         001 - Hospital Blood          LC-MS/MS
 Cannabinoids                     Presump   Pos         ng/ml            50           012 -   Urine                 EIA
   This test is an unconfirmed screen. Confirmation by a more definitive technique such as GC/MS is recommended.
 Amphetamines                   Presump Pos           ng/m L             500       012 -      Urine          EIA
   This test is an unconfirmed screen. Confirmation by a more definitive technique such as GC/MS is recommended.
 Fentanyl / Metabolite          Presump Pos           ngimL              2.0       012 - Urine               EIA
   This test is an unconfirmed screen. Confirmation by a more definitive technique such as GC/MS is recommended.
 Morphine -    Free              86                     ng/mL            25'          012 - Urine                  LC-MS/MS

 Other than the above findings, examination of the specimen(s) submitted did not reveal any positive findings of
 toxicological significance by procedures outlined in the accompanying Analysis Summary.

Reference Comments:
 1. 11-Hydroxy Delta-9 THC (Active Metabolite) - Hospital Blood:
         1 1-Hydroxy Delta-9 THC is an active intermediate metabolite of tetrahydrocannabinol (THC) the active

         component of marijuana. Usual peak levels: Less than 10% of THC levels after smoking.
 2.    4-ANPP (Despropionyl fentanyl) - Hospital Blood;
         4-ANPP (despropionylfentanyl) is a precursor chemical used in the production of fentanyl and is also a fentanyl
         metabolite. lt may be used in the production of other related compounds such as acetyl fentanyl, butyryl
                                                                                                                -
         fentanyl and furanyl fentanyl and may be a metabolite of these and other fentanyl-relaieO compounOs. lt is
         considered to be pharmacologically weak.
 3. Amphetamines - Urine:
         Amphetamines are a class of central nervous system stimulant drugs, with some therapeutic uses, and a high
         potential for abuse.

         This result derives from a presumptive test, which may be subject to cross-reactivity with non-amphetamine
         related compounds. A second test is necessary to confirm the presence of amphetamine related compounds.


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Reference Gomments:
 4. Caffeine (No-Doz@) - Hospital Blood:
         Caffeine is a xanthine-derived central nervous system stimulant. lt also produces diuresis and cardiac and
         respiratory stimulation. lt can be readily found in such items as coffee, tea, soft drinks and chocolate. As a
         reference, a typical cup of coffee or tea contains between 40 to 100 mg caffeine.

        The reported qualitative result for this substance was based upon a single analysis only. lf confirmation testing
        is required please contact the laboratory.
 5. Cannabinoids - Urine:
        Cannabinoids are chemical compounds derived from the plant Cannabis sativa (marijuana), including active
        components, chemical congeners and metabolites. Delta-9-Tetrahydrocannabinol (THC) is the principal active
        component.

       This result derives from a presumptive test, which may be subject to cross-reactivity with non-cannabinoid
       related compounds. A second test is necessary to confirm the presence of cannabinoid related compounds.
 6.   Cotinine (Nicotine Metabolite) - Hospital Blood:
        Cotinine is a metabolite of nicotine and may be encountered in the fluids and tissues of an individual as a result
        oftobacco exposure.

        Anabasine is a natural product occurring in tobacco, but not in pharmaceutical nicotine and a separate test for
        anabasine in urine can be used to distinguish tobacco from pharmaceutical nicotine use.

        The reported qualitative result for this substance was based upon a single analysis only. lf confirmation testing
        is required please contact the laboratory.

 7. Delta-9 Carboxy THC (lnactive Metabolite) - Hospital Blood:
        Delta-9-THC is the principle psychoactive ingredient of marijuana/hashish. Delta-9-carboxy-THC (THCC) is the
        inactive metabolite of THC. The usual peak concentrations in serum for 1.75o/o ot 3.55% THC marijuana
        cigarettes are 10 - 101 ng/ml attained 32to240 minutes after beginning smoking, with a slow decline
        thereafter. The ratio of whole blood concentration to plasma concentration is unknown for this analyte. THCC
        may be detected for up to one day or more in blood. Both delta-9-THC and THCC may be present substantially
   .    longer in chronic users. THCC is usually not detectable after passive inhalation.
 8. Delta-9 THC (Active Ingredient of Marijuana) - Hospital Blood:
        Marijuana is a DEA Schedule I hallucinogen. Pharmacologically, it has depressant and reality distorting effects.
        Collectively, the chemical compounds that comprise marijuana are known as Cannabinoids.

        Delta-9-THC is the principle psychoactive ingredient of marijuana/hashish. lt rapidly leaves the blood, even
        during smoking, falling to below detectable levels within several hours. Delta-9-carboxy-THC (THCC) is the
        inactive metabolite of THC and may be detected for up to one day or more in blood. Both delta-9-THC and
        THCC may be present substantially longer in chronic users.
        THC concentrations in blood are usually about one-half of serum/plasma concentrations. Usual peak levels in
        serum for 1.75% or 3.55% THC marijuana cigarettes: 50 - 27O ng/mL at 6 to 9 minutes after beginning
        smoking, decreasing to less than 5 ng/mL by 2 hrs.
 9.   Fentanyl (Duragesic@; Sublimaze@) - Hospital Blood:
       Fentanyl is a DEA Schedule ll synthetic morphine substitute anesthetic/analgesic. lt is reported to be 80 to 200
       times as potent as morphine and has a rapid onset of action as well as addictive properties.

       It is reported that patients lost consciousness at mean plasma levels of fentanyl of 34 ng/ml when infused w1h
       75 mcg/Kg over a 15 min period; peak plasma levels averaged 50 ng/ml.

       After application of a fentanyl transdermal preparation (patch), serum fentanyl concentrations are reported to
       be in the following ranges within 24 hours:
       25 mcg/hour patch: 0.3 - 1.2 nglmL
       50 mcg/hour patch: 0.6 - 1,8 ng/mL
       75 mcg/hour patch: 1.1 - 2.6 ng/ml
       100 mcg/hour patch: 1 .9 - 3.8 ng/mL



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 Reference Gomments:
            Following removal of the patch, serum fentanyl concentrations are reported to decrease with a mean
            elimination half-life of 17 hours (range, 13 to 22 hours).

            The mean peak plasma serum fentanyl concentration in adults given an 800 mcg oral transmucosal fentanyl
            preparation over 15 minutes is reported at 2.1 ng/mL (range, 1.4 - 3.0 ng/ml) at approximately 0.4 hours.

            Signs associated with fentanyl toxicity include severe respiratory depression, seizures, hypotension, coma and
            death. In fatalities from fentanyl, blood concentrations are variable and have been reported as low as 3 ng/ml.

            Substance(s) known to interfere with the identity and/or quantig of the reported result 4-methylphenethyl
            acetyl fentanyl
   10. Fentanyl / Metabolite - Urine:
           Fentanyl is a DEA Schedule ll synthetic morphine substitute anesthetic/analgesic. lt is reported to be 80 to 200
           times as potent as morphine and has a rapid onset of action as well as addictive properties.

        This result derives from a presumptive test, which may be subject to cross-reactivig with non-fentanyl related
        compounds. A second test is necessary to confirm the presence of fentanyl related compounds.
   11. Methamphetamine - Hospital Blood:
           d-Methamphetamine is a DEA schedule ll stimulant drug capable of causing hallucinations, aggressive
           behavior and irrational reactions. Chemically, there are two forms (isomers) of methamphetamine: l- and d-
           methamphetamine. The l-isomer is used in non-prescription inhalers as a decongestant and has weak CNS-
           stimulatory activity. The d-isomer has been used therapeutically as an anorexigenic agent in the treatment of
           obesity and has potent CNS-, cardiac- and circulatory-stimulatory activity. Amphetamine and norephedrine
           (phenylpropanolamine) are metabolites of methamphetamine. d-Methamphetamine is an abused substance
           because of its stimulatory effects and is also addictive.

           A peak blood concentration of methamphetamine of 20 ng/mL was reported at 2.5 hr after an oral dosage of
           12.5 mg. Blood levels of 200 - 600 ng/mL have been reported in methamphetamine abusers who exhibited
           violent and irrational behavior. High doses of methamphetamine can also elicit restlessness, confusion,
           hallucinations, circulatory collapse and convulsions.
           .ln this case, the level of methamphetamine
                                                         determined has not been differentiated according to its isomeric
           forms. Differentiation of the isomers of methamphetamine is available upon request.
  12. Morphine - Free (Codeine Metabolite) - Urine:
           Morphine is a DEA Schedule ll narcotic analgesic. In analgesic therapy, it is usually encountered as the parent
           compound, however, it is also commonly found as the metabolite of codeine and heroin. In illicit preparations
           from which morphine may arise, codeine may be present as a contaminant. A large portion of the morphine is
           bound to the blood proteins or is conjugated; that which is not bound or conjugated is termed 'free morphine'.
           Hydromorphone is a reported metabolite of morphine.

        In general, free morphine is the active biologic agent. Morphine has diverse effects that may include analgesia,
       drowsiness, nausea and respiratory depression. 6-monoacetylmorphine (6-MAM) is the o-monoacetylated form
       of morphine, which is pharmacologically active. lt is commonly found as the result of heroin use.
  13. Norfentanyl (Fentanyl Metabolite) - Hospital Blood:
           Norfentanyl is the primary inactive metabolite of the synthetic narcotic analgesic fentanyl.
           Substance(s) known to interfere with the identity and/or quantig of the reported result Benzyl Fentanyl
 Sample Comments:
  001        Physician/Pathologist Name: Dr. Andrew Baker

  Unless alternate arrangements are made by you, the remainder of the submitted specimens will be discarded one (1) year
  from the date of this report; and generated data will be discarded flve (5) years from the date the analyses were
  oerformed.




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                                                                             a4/9,*4^_{
                                                                             Daniel S. lsenschmid, Ph.D., F-ABFT
                                                                             Forensic Toxicologist

 Analysis Summary and Reporting Limits:
 All of the following tests were performed for this case. For each test, the compounds listed were included in the scope. The
 Reporting Limit listed for each compound represents the lowest concentration of the compound that will be reported as being
 positive. lf the compound is listed as None Detected, it is not present above the Reporting Limit. Please refer to the Positive
 Findings section of the report for those compounds that were identified as being present.

   Acode 50016U - Opiates - Free (Unconjugated) Confirmation, Urine

     -Analysis by High Performance Liquid Chromatography/ Tandem Mass Spectrometry (LC-MS/MS) for:

       Comoound                                Rpt. Limit               Comoound                               Rpt. Limit
      6-Monoacetylmorphine - Free        5.0 ng/ml                 Hydromorphone - Free                        5.0 ng/mL
      Codeine - Free                     25 ng/mL                  Morphine - Free                             25 ng/mL
      Dihydrocodeine / Hydrocodol - Free 25 ng/mL                  Oxycodone - Free                            25 ng/mL
      Hydrocodone - Free                 25 ng/mL                  Oxymorphone - Free                          5.0 ng/mL
  Acode 521988 - Cannabinoids Confirmation, Blood - Hospital Blood

     -Analysis by High Performance Liquid Chromatography/ Tandem Mass Spectrometry (LC-MS/MS) for:

       Compound                               Rpt. Limit                Compound                               Rpt. Limit
      11-Hydroxy Delta-9 THC           1.0 ng/ml                 Delta-9 THC                                   0.50 ng/mL
      Delta-9 Carboxy THC              5.0 ng/mL
  Acode 524838 -Amphetamines Confirmation, Blood - Hospital Blood

    -Analysis by High Performance Liquid Chromatography/ Tandem Mass Spectrometry (LC-MS/MS) for:

       Compound                               Rpt. Limit               Compound                                Rpt. Limit
      Amphetamine                         5.0 ng/mL                Methamphetamine                            5.0 ng/mL
      Ephedrine                           5.0 ng/mL                Norpseudoephedrine                         5.0 ng/mL
      MDA                                 5.0 ng/ml                Phentermine                                5.0 ng/mL
      MDEA                                5.0 ng/ml                Phenylpropanolamine                        20 ng/ml
      MDMA                                5.0 ng/mL                Pseudoephedrine                            5.0 ng/mL
  Acode 524848 - Fentanyl and Acetyl Fentanyl Confirmation, Blood - Hospital Blood

    -Analysis by High Performance Liquid Chromatography/ Tandem Mass Spectrometry (LC-MS/MS) for:

      Compound                                Rpt. Limit               Compound                               Rpt. Limit
      Acetyl Fentanyl                    0.10 ng/mL               Norfentanyl                                 0.20 ng/mL
      Fentanyl                           0.10 ng/ml
  Acode 524888 - Designer Opioids Confirmation (2019 Scope), Blood - Hospital Blood

    -Analysis by High Performance Liquid Chromatography/ Tandem Mass Spectrometry (LC-MS/MS) for:

      Compound                                Rpt. Limit               Comoound                               Rpt. Limit
      2-Furanylfentanyl                      0.050 ng/mL               Butyrylfentanyl                        0.050 ng/mL
      4.ANPP                                 0.10 ng/mL                Carfentanil                            0.050 ng/mL
      Acryl Fentanyl                         0.050 ng/mL               Cyclopropylfentanyl                    0.050 ng/mL

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 Analysis Summary and Reporting Limits:


      Comoound                                Rpt. Limit                Compound                               Rpt. Limit
      lsobutyrylfentanyl                 0.050 ng/mL            meta-Methylmethoxyacetylfentanyl 0.050 ng/mL
      Methoxyacetylfentanyl              0.050 ng/ml                    ortho-Fluorofentanyl     0.050 ng/ml
      THF-F                              0.050 ng/mL            para-Fluorobutyrylfentanyl 0.050 ng/ml
      u-47700                            0.050 ng/mL                    para-Fluorofentanyl      0.050 ng/ml
      u49900                             0.050 ng/mL            para-Fluoroisobutyrylfentanyl 0.050 ng/ml
      u-51754                            0.050 ng/mL            para-Methylmethoxyacetylfentanyl 0.050 ng/mL
      ValerylFentanyl                    0.050 ng/mL                   trans-3-Methylfentanyl    0.050 ng/ml
      cis-3-Methylfentanyl               0.050 ng/mL
  Acode 8050U - Postmortem, Urine Screen Add-on (6-MAM Quantification only)

    -Analysis by Enzyme lmmunoassay (ElA) for:

      Compound                               Rpt. Limit                Compound                                Rpt. Limit
      Amphetamines                      500 ng/mL                Fentanyl / Metabolite                         2.0 ng/mL
      Barbiturates                      0.30 mcg/mL              Methadone / Metabolite                        300 ng/ml
      Benzodiazepines                   50 ng/mL                 Opiates                                       300 nglml
      Cannabinoids                      50 ng/mL                 Oxycodone / Oxymorphone                       100 ng/mL
      Cocaine / Metabolites              150 ng/mL               Phencyclidine                                25 ng/mL
  Acode 80528 - Postmortem, Expanded, Blood (Forensic)- Hospital Blood

    -Analysis by Enzyme-Linked lmmunosorbent Assay (ELISA) for:

      Comoound                               Rot. Limit                Compound                               Rpt. Limit
      Barbiturates                           0.040 mcg/mL              Gabapentin                             5.0 mcg/mL
      Cannabinoids                           10 ng/mL                  Salicylates                            120 mcg/ml

   -Analysis by High Performance Liquid Chromatography/Time of Flight-Mass Spectrometry (LC/TOF-MS) for: The
   following is a general list of compound classes included in this screen. The detection of any specific analyte is
   concentration-dependent. Note, not all known analytes in each specified compound class are included. Some
   specific analytes outside these classes are also included. For a detailed list of all analytes and reporting limits,
   please contact NMS Labs.
   Amphetamines, Anticonvulsants, Antidepressants, Antihistamines, Antipsychotic Agents, Benzodiazepines, CNS
   Stimulants, Cocaine and Metabolites, Hallucinogens, Hypnosedatives, Hypoglycemics, Muscle Relaxants, Non-
   Steroidal Anti-lnflammatory Agents, Opiates and Opioids.
 Acode 8210B - Novel Psychoactive Substances (NPS) Screen 2, Blood - Hospital Blood

   -Analysis by Gas Chromatography/Mass Spectrometry (GC/MS) for: The following is a general list of compound
   classes considered to be Novel Psychoactive Substances included in the Gas Chromatographic screen. The
   detection of any particular compound is concentration-dependent. Please note that not all known compounds
   included in each specified class or heading are included. Some specific compounds outside these classes are
   also included. For a detailed list of all compounds and reporting limits included in this screen, please contact
   NMS Labs.
   Substituted Phenethylamines, OpioidAnalgesics, Substituted Cathinones, Pyrrolidinophenones, Piperazines,
   Tryptamines, Aminoindanes, and Benzofurans.
 Acode 87568 - Novel Psychoactive Substances (NPS) Screen 1, Blood - Hospital Blood

   -Analysis by High Performance Liquid Chromatography/Time of Flight-Mass Spectrometry (LC/TOF-MS) for:

     Compound                               Rpt. Limit                Comoound                                Rpt. Limit
     2-Furanylfentanyl                      0.10 ng/mL                25B-NBOMe                               1.0 ng/mL


                                                                                                                           NMS v.18.0
                                                                                                                            00680r
                                                                                                     €x l'r- c 1o{ I
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                                 CONFIDENTIAL               Workorder           20159963


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                                                            Patient lD
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Analysis Summary and Reporting Limits:


     Compound                             Rpt. Limit              Compound                            Rpt. Limit
     25C-NBOMe                            1.0 ng/mL               Meclonazepam                        5.0 ng/mL
     25H-NBOMe                            1.0 ng/mL               Mephedrone                          10 ng/mL
     251-NBOMe                            1.0 ng/mL               Methoxetamine                      2.0 ng/mL
     3-Fluorophenmetrazine                5.0 ng/ml               Methoxphenidine                    5.0 ng/mL
     3-MeO-PCP                            5.0 ng/mL               M ethoxyacetylfenta   nyl          0.50 ng/ml
     4-ANPP                               0.10 ng/mL              Methylone                           10 ng/mL
     4-MeO-PCP                            5.0 ng/mL               Mitragynine                        10 ng/ml
     Acetyl Fentanyl                      0.50 ng/mL              N-Ethyl Pentylone                  10 ng/mL
     Acryl Fentanyl                       0.10 ng/mL              Pentedrone                         2.0 ng/ml
     BZP                                  10 ng/mL                Pentylone                          10 ng/mL
     Bromazepam                           10 ng/ml                Phenazepam                         10 ng/mL
     Butylone                             10 ng/mL                Pyrazolam                          5.0 ng/mL
    Butyrylfentanyl                       0.10 ng/mL              TFMPP                              10 ng/mL
    Carfentanil                           0.'10 ng/mL             THF-F                              0.20 ng/mL
    Clephedrone                          50 ng/mL                 u47700                             1.0 ng/mL
    Clonazolam                           5.0 ng/mL                u49900                             1.0 ng/mL
     Cyclopropylfentanyl                 0.50 ng/mL               u-51754                            1.0 ng/mL
     Delorazepam                         5.0 ng/mL                Valeryl Fentanyl                   0.50 ng/mL
     Deschloroetizolam                   2.0 ng/mL                alpha-PVP                          2.0 ng/mL
    Dibutylone                           10 ng/mL                 cis-3-Methylfentanyl               0.10 ng/mL
    Diclazepam                           20 ng/mL                 meta-Methylmethoxyacetylfentanyl   0.50 ng/mL
    Ethylone                             10 ng/mL                 ortho-Fluorofentanyl               0.10 ng/mL
    Etizolam                             10 ng/mL                 para-Fluorobutyrylfentanyl         0.10 ng/mL
    Flubromazepam                        20 ng/mL                 para-Fluorofentanyl                0.10 ng/mL
    Flubromazolam                        5.0 ng/mL                para-Fluoroisobutyrylfentanyl      0.10 ng/ml
    lsobutyrylfentanyl                   0.10 ng/mL               para-Methylmethoxyacetylfentanyl   0.50 ng/mL
    MDPV                                 10 ng/mL                 trans-3-Methylfentanyl             0.10 ng/ml
    MPHP                                 10 ng/mL
Acode 90968 - Alcohol Screen, Blood (Forensic) - Hospital Blood

  -Analysis by Headspace Gas Chromatography (GC) for:

    Compound                             Rot. Limit               Compound                           Rot. Limit
    Acetone                              5.0 mg/dL                lsopropanol                        5.0 mg/dL
    Ethanol                              10 mg/dL                 Methanol                           5.0 mg/dL




                                                                                                              NMS v.18.0
                                                                                                                   006802
               CASE 0:21-cr-00108-PAM-TNL Doc. 544-1 Filed 11/13/23 Page 32 of 47
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                                                                                                                                ex\-c 8 ot4
                                                 ANALYSE REQUISITIONAND CHAIN OF CUSTODY


    ANMS
     f-LAEI-I
                                                    200 Welsh Road. t l-lorsham, pA19044-2209
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REQUISITION QUESTIONS

 MAI.|NER Or Oenrlr                            UNDETERMINED

 SPECIMEN CONDITION                            ANTEMORTEM

 SPECIAL INSTRUCTIONS                          Please prioritire hospital blood for all testing and use postrnortem blood vrf,ren admission
                                                                                                                                            blood is
                                               insufficient


TEST(S)

 80528           Postrnortem, Elpanded, Blood (Forensic)                    Blood I Hospitall05l25l2020 21:00
 87568           Mvel Psychoactive Substances (NpS) Screen 1, Blood Blood Ffospital
                                                                         I          ll1l25l2020 21:00
 8210B           I'lcvel Psychoactive Substances (NPS) Screen 2, Blood      Blood I Flospital 10512512020 21:OO
                Postrnortem, LJrine Screen Add-on (6-lr4AM
 8050u                                                                      Any Sample
                Quantification only)


SAIIJIPLE(S)

 COLLECTED                                    MATRIX                                       SOURCE
 0512612020 12:20                             Blood                                        Fenpral
 0512612020 12:20                             Blood                                       Femoral
 0512612020 12:20                             Blood                                       Femoral
 051261202Q 12:20                             Blood                                       Femoral
 0512612020 12:20                             Blood                                       Femoral
0512512020 21i00                              Blood                                       Fbspital
0512512020 21i00                              Blood                                       Hospital
0512512020 21:00                              Blood                                       Flospital
O512512020 21:00                              Blood                                       Hospital
0512512020 21:00                              Blood                                       Hospital
0512512020 21:00                              Blood                                       Fbspital
0512612020 12:20                              t-hine                                      NUA

0512612020 12:20                              Urine                                       NI/A



REQUIS|T|ON QUESTIONS (REPORTABLE)




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DATE                                  REL]NQUISHED BY                        RECEIVED BY                            PURPOSE OF TRANSFER




ORDERED BY                            Hunter Kane                            REQUISITION TYPE                       POSTMORTEM




                                                                                                                               028341
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       The Wayback Machine - https://web.archive.orgtwebll}2A0s23163601/http://www.ci.minneapolis.mn.us/police/pol,..



       5-300 Use of Force
       5-301 pURposE (1 0 I 1 61 021 (O&t 17 | O7l lO7 t 28t 1 6l

               A. Sanctity of life and the protection of the public shall be the cornerstones of the MpD,s use of force
                   policy.

               B' The purpose of this chapter is to provide all sworn MPD employees with clear and consistent policies
                   and-procedures regarding the use of force while engaged in'the discnarge
                                                                                             of their official duties. (Note:
                   MPD Training Unit Lesson Plans - Use of Force, are used as a referenci
                                                                                            tnrougnout this chapter.)

      5-301.0{ poLtcy (10t 1 6t 021 (}st 17 to7l

      Based on the Fourth Amendment's "reasonableness" standard, sworn MPD
                                                                                      employees shallonly use the amount
      of force that is objectively reasonable in light of the facts and circumstances
                                                                                      known to that employee at the time
      force is used. The force used shall be conlistent with current MpD training.

      5-301.02 STATE REQUTREMENTS (tDt 11 to2l

      The MPD shall comply with Minn. Stat. 5626.8452 to establish and enforce
                                                                                  a written policy governing the use of
      force, including deadly force and state-mandated pre-service and in-service
                                                                                   training in the use of force for all sworn
      MPD employees.(08/1 7/07)

      5-302 USE OF FORCE DEF|NITIONS (10/f 6/02l (Amrrcl

     Active Aggression: Behavior initiated by a subject that may or may not be in
                                                                                     response to police efforts to bring
     the person into custody or control. A subject engages in active aggression
                                                                                 when presenting behaviors that
     constitute an assault or the circumstances_reasonibly indicate th!-t an
                                                                             assault or injury to any person is likely to
     occur at any moment. (10t01t10) (O4t16t1Z)

            Resistance: A response to police efforts to bring a person into custody or
  / Afctiyg
       subject engages in active resistance_when engaging i-n physical actions (or
                                                                                            control for detainment or arrest.
  ! intention) to make it more difficult for                                           verbal behavior reflecting an
  I                                          officers to Jciievi actuit physical control. (1oto,lt1o)
                                                                                                      Q4t16112)
     Deadly Force: Minn. Stat. 5609.066 states that: "Force which the actor
                                                                                   uses with the purpose of causing, or which
     the actor should reasonably know creates a substantial risk of causing
                                                                                 d;;ih or great bodily harm. The intentional
     discharge of a firearm other than a firearm loaded with less-lethal muiitions
                                                                                       and used by a peace officer within the
     scope of official duties, in the direction of another person, or at a vehicle
                                                                                   in which another person is believed to be,
     constitutes deadly force." (10101 | 10)

     Flight: ls an effort by the subject to avoid arrest or capture by fleeing without
                                                                                         the aid of a motor vehicle. (1oto1t1o)
    Great  Bodily Harm: Bodily injury which creates a high probability of death, or which
                                                                                           causes serious permanent
    disfigurement, or which causes a permanent or protricted loss oi impairmeni
                                                                                   of the function of any bodily member
    or organ, or other serious bodily harm.

   Non'Deadly Force: Force that does not have the reasonable likelihood of
 I death                                                                            causing or creating a substantial risk of
 /         or great bodily harm' This includes, but is not limited to, physically
                                                                                  sutouing, controlling, capturing,
                   physically managing any person. lt also includes the actuit
/ I:tlillting.9l                                                                   use of any tess-lethat and non-tethat
I  weapons.    (08t17t07)

    objectively   Reasonable Force: The amount and type of force that would be considered
    "objective" officer on the scene, supported by facts                                      rational and logical to an
                                                         ind circumstances known to an officer at the time force was
    used. (08117/07)

    Passive Resistance: A response to police efforts to bring a person into custody
                                                                                           or controlfor detainment or arrest.
5-304
             CASE 0:21-cr-00108-PAM-TNL Doc. 544-1 Filed 11/13/23 Page 35Gx
                                                                         of 47
                                                                             ll- P
            THREATENING THE USE OF FORCE AND DE-ESCALATTON (10/16/021(o6to1t12l
                                                                                                        zo(l/
             (07t28t161
(A-D)
        A. Threatening the Use of Force
           As an alternative and/or the precursor to the actual use of force, MPD officers shall consider
           verbally announcing their intent to use force, including,displaying an authorized weapon
                                                                                                      as a
           threat of force, when reasonable under the circumstan'ces. The threatened use of foice
                                                                                                     shall
           only occur in situations that an officer reasonably believes may result in the authorized
                                                                                                     use of
           force. This policy shall not be construed to authorize unnecesiarily harsh language. (Ogll1tOT)
           (07t28t16)

        B. De-escalation
          Whenever reasonable according to MPD policies and training, ofiicers shall use de-escalation
          tactics to gain voluntary compliance and seek to avoid or min-imize use of physical force.
          (06t01t12) (07t28t16)

          1. When safe and feasible, officers shall:
             a. Attempt to slow down or stabilize the situation so that more time, options and resources
                 are available.

                 i. Mitigating the immediacy of threat gives ofiicers more time to call additionalofficers or
                    specialty units and to use other resources.

                 ii' The number of officers on scene may make more force options available and may help
                    reduce overall force used.

             b. Consider whether a subject's lack of compliance is a deliberate aftempt to resist or an
                 inability to comply based on factors including, but not limited to:

                    . Medicalconditions
                    . Mental impairment
                    . Developmentaldisability
                    . Physical limitation
                    ' Language
                    . lnfluence ofbarrier
                                   drug
                    . Behavioralcrisis or alcohol use
                Such consideration, when time and circumstances reasonably permit, shallthen
                                                                                                be
                balanced against incident facts when deciding which tactical options are the most
                appropriate to resolve the situation safely.

         2. De-escalation tactics include, but are not limited to:
                ' Placing barriers between an uncooperative subject and an officer.
                . Containing a threat.
                ' Moving from a position that exposes officers to potential threats to a safer position.
                ' Reducing exposure to a potentialthreat using distance, cover    or concealment.
                ' Communication from a safe position intended to gain the subject's    compliance, using
                   verbal persuasion, advisements or warnings.
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                                                                                             Qxlt-D 3o{ lV
              1.   Officers shall use reasonableness, sound tactics and available options during encounters to
                   maximize the likelihood that they can safely resolve the situation.

                   A lack of reasonable or sound tactics can limit options available to officers, and unnecessarily
                   place officers and the public at risk.


5-306 USE OF FORCE - REPORTING AND POST |NCIDENT REQUTREMENTS (O8t17t}7l

     Any sworn MPD employee who uses force shall comply with the following requirements:

     Medical Assistance: As soon as reasonably practical, determine if anyone was injured and
       render medical aid consistent with training and request Emergency Medical Service (EMS) if
        necessary.

    Sg                                             porting_Eeguirements

         No CAPRS Report Required

           Unless an injury or alleged injury has occurred, the below listed force does not require a
           CAPRS report or supervisor notification.

              . Escort Holds
              . Joint Manipulations
              ' Nerve Pressure Points (Touch pressure)
              ' Handcuffing
              ' Gun drawing or pointing
        cAPRs Report Required - No supervisor Notification required

          The following listed force requires a CAPRS report, but does not require supervisor
          notification.

              . Takedown Techniques
              . ChemicalAgentExposures
        cAPRs Report Required - supervisor Notification Required

          All other force, injuries or alleged injury incidents require both a CApRS report and
          supervisor notification. The swoin employee shall remain on scene and immediately notifo
          a supervisor by phone or radio of the force that was used.

          Supervisors shall not conduct a force review on their own use of force. Any other
         .supervisor of any rank shall conduct the force review. (04116t12)

        ' A CAPRS report entitled 'FORCE" shalt be completed as soon as practical, but no later
          than the end of that shift. A supplement describing the use of force incident in detail shall
          be completed and entered directly into the CAPRS reporting system (no handwritten force
          reports). Employees shall ensure that all applicable force portions of the CAPRS report are
          completed in full.

         sworn employees shall complete a CAPRS report entitled "PRloRl" for at| incidents in which
           CASE 0:21-cr-00108-PAM-TNL Doc. 544-1 Filed 11/13/23 Page 37 of 47
                                                                                      ExH    -P 4 o{ 17
         g. Locate and identify witnesses to the use of force incid ent. (12115/09)
         h. Obtain statements from witnesses to the use of force incident.
         i. Contact the Internal Affairs Unit Commander immediately by phone if the force used
            appears to be unreasonable or appears to constitute possible misconduct. (04116t12)

      4. Complete and submit the Supervisor Use of Force Review and Summary in CAPRS as soon
         as practical, but prior to the end of that shift.

         a. Ensure that all actions taken in the preliminary investigation process and the information
            obtained from these actions are included in the Summary and that allother relevant
            information is entered in the appropriate sections of the report. (12l15t}g)

         b. lf, based upon the totality of the information available at the time of the report, the
            supervisor feels that the use of force may have been unreasonable or not within policy, the
            s u pervisor will: (04 | 1 6 | 1 2)


                    State in the supervisor force review that they believe the use of force requires further
                   review; and
                    Notify the commander of lnternal Affairs of their findings that the force requires
                   further review.

     5. Review all sworn employees' CAPRS reports and supplements related to the use of force
        incident for completeness and accuracy.


5-308 NOT|F|CAT|ON OF FTREARM DTSCHARGES (10/1 6t021 (o4t3o/15)

     A. Employee Responsibility
        Any employee who discharges a firearm, whether on or off duty, shall make direct contact with
        their immediate supervisor or the on-duty Watch Commander and the localjurisdiction as soon
        as possible except: (081171A7) (04t30t15) (04/05/16)

           . While at an established target range;
           . While conducting  authorized ballistics tests;
           ' When engaged in legally recognized activities while off-duty.
     B. Supervisor Responsibility
        1. The supervisor shall respond to any scene in which an employee has discharged a firearm
           while on-duty or in the course of duty. (04tS0t1S) (04/05/16)

        2. The supervisor is responsible for notifoing the Watch Commander and when appropriate,
           the employee's Deputy Chief and the on-du$ Homicide investigator. This does not include
           the discharge of a firearm with the intention of dispatching an animal, unless it results in
           injury to a person. (04130115) (04/05/16)

        3. Notifications to the InternalAffairs Unit shall be made in accordance with the lnternal
           Affairs Call-Out Notification Policy (PtP 2-101). (04/05/16)
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                                                                                            Exlr- P g o+ lV
              4. The advised supervisor shall ensure that drug and alcohol testing is conducted in
                  accordance with the conditions and procedures in the MPD Drug & AlcoholTesting Policy
                  (P/P Section 3-1000). (O4l3Ol15)

              5. At any officer-involved shooting incident in which a person is shot, the Gritical lncident
                  Policy (P/P Section 7-800) shall be followed. (04130115)

           C. Reporting Firearms Discharges to the State ('101161021(04/30/1S)

              Minn. Stat. $626.553 requires the Chief of Police to report to the State Commissioner of Public
              Safety whenever a peace officer discharges a firearm in the course of duty, other than for training
              purposes or when killing an animal that is sick, injured or dangerous. Written notification of the
              incident must be filed within 30 days of the incident. The notification shall include information
              concerning the reason for and circurnstances surrounding discharge of the firearm. The Internal
              Affairs Unit supervisor shall be responsible for filing the required form(s) with the State Bureau of
              Criminal Apprehension. (04/05/1 6)



    5-309 WRITTEN REPORT ON DISCHARGE OF FIREARMS (10/16102I

    All employee firearm discharges that require notification, other than Critical lncidents, shall be reported in
    CAPRS, including a supplement, by the employee involved and the s'upervisor who was notified. The
    report shall be titled, "DISWEAP." The supervisor shall then complete a Supervisor Force Review.
    (ogt17t07)

    lf the involved employee is unable to make a CAPRS report, the supervisor shall initiate the CApRS
    report.

    The Watch Commander shall include all case numbers on the Watch Commander log.

    5-310 USE OF UNAUTHORTZED WEAPONS (10/16/02) (08/17t}7l

    Sworn MPD employees shall only carry and use MPD approved weapons for which they are currenly
    trained and authorized to use through the MPD Training Unit. lf an exigent circumstance exists that
    poses an imminent threat to the safety of the employee or the public requiring the immediate use an
    improvised weapon of opportunity, the employee may use the weapon. (0g/17107)

 c 5-311 USE OF NECK RESTRAINTS AND CHOKE HOLDS (1Dt16t}2l (O8t17t}7l (1OtO1tl}l (04t16t121
>p oenNffroNs t.               Tnfodanl-
         Ghoke Hold: Deadly force option. Defined as applying direct pressure on a person's trachea or
         airway (front of the neck), blocking or obstructing the ainruay (o4l16tj2)

         Neck Restraint: Non-deadly force option. Defined as compressing one or both sides of a person's
         neck with an arm or leg, without applying direct pressure to the trachea or ainray (front of ine
         neck). Only sworn employees who have received training from the MPD Training Unit are
         authorized to use neck restraints. The MPD authorizes two types of neck restraints: Conscious
         Neck Restraint and Unconscious Neck Restraint. (O4l16l1r2\

         Gonscious Neck Restraint: The subject is placed in a neck restraint with intent to control, and not
         to render the subject unconscious, by only applying light to moderate pressure. (04116t12)
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         Unconscious Neck Restraint: The subject is placed in a neck restraint with the intention of
         rendering the person unconscious by applying adequate pressure. (04116t12)

    PROCEDURES/REGULATIONS II.

       A. The Conscious Neck Restraint may be used against a subject who is activety resisting. (04116112)
       B' The Unconscious Neck Restraint shall only be applied in the following circumstances:
                                                                                                  lCialtOltZl'
             1. On a subject who is exhibiting active aggression, or;
            2. For life saving purposes, or;
            3. On a subject who is exhibiting active resistance in order to gain control of the subject; and if
               lesser attempts at control have been or would likely be ineffective.
      C. Neck restraints shall not be used against subjects who are passively resisting as defined by policy.
         (04t16t12)
      D. After Care Guidelines (04/16/12)
             1' After a neck restraint or choke hold has been used on a subject, sworn MPD employees shall
                keep them under close observation until they are released to medical or other law
                enforcement personnel.
            2' An officer who has used a neck restraint or choke hold shall inform individuals accepting
                custody of the subject, that the technique was used on the subject.

    5-312 CtVtL DTSTURBANCES (08t17 t07l

Civil disturbances are unique situations that often require special ptanning and tactics to best bring an
unlawful situation under effective control. The on-scene incident commander shall evaluate the overall
situation and determine if it would be a reasonable force option to use less-lethal or non-lethalweapons
to best accomplish that objective.

Unless there is an immediate need to protect oneself or another from apparent physical harm, sworn
MPD employees shall refrain from deploying any less-lethal or non-lethai weapons upon any individuals
involved in a civil disturbance until it has been authorized by the on-scene incident commander.

The riot baton is a less-lethal weapon that shall only be deployed for carry or use during, or in
anticipation to, a civil disturbance.



5-313 USE OF CHEMICAL AGENTS - POLTCY (11t16r}2l pen7rcn (omrlol (osto$tlzl

The MPD approved chemicalagent is considered a non-lethal use of force.'The use of chemical agents
shall be consistent with current MPD training and MPD policies governing the use of force (policy ind
Procedure Manual, Sections 5-300 Use of Force).

Chemical agents, regardless of canister size, shall only be used against subjects under the following
circumstances: (06/1 0/1 3)

'     On subjects who are exhibiting Active Aggression, or;

'     For life saving purposes, or;

'   On subjects who are exhibiting active resistance in order to gain control of a subject and if lesser
attempts at control have been or would likely be ineffective, or; (06/10/13)

' During crowd control situations if authorized by a supervisor. (See 5-312 Civil Disturbances)
(09t04t12) (06/10/13)
                    CASE 0:21-cr-00108-PAM-TNL Doc. 544-1 Filed 11/13/23 Page 40 of 47            grlr-P 7o{ 17
           . Determine if the person is injured or requires EMS                         I




           . When appropriate, visual inspect the areas struck for signs of injury
           . Render medical aid consistent with training and request EMS response for evaluation at anytime if
            necessary

     Sworn employees shall routinely monitor the medical condition of a person that has been struck with an
     impact weapon until they are released to medical or other law enforcement personnel. An officer who has
     used an impact weapon shall inform individuals accepting custody that it was used on the person.
     (10t01t10)


                                           Tmgortan?
 t   s-316 MAXIMAL RESTRAINT TECHNIQUE (0s/2e/02) (06/13/14) (07/13/17) (04/02tr8)
X (B-C)
      I.       PURPOSE
              To establish a policy on the use of "hobble restraint devices" and the method of transporting prisoners who
              have been handcuffed with a hobble restraint applied.
      IL      POLICY
             The hobble restraint device may be used to carry out the Maximal Restraint Technique, consistent with
             training offered by the lVlinneapolis Police Department on the use of the Maximal Restraint Technique and
             the Use of Force Policy.
      III. DEFINITIONS
          Hobble Restraint Device: A device that limits the motion of a person by tethering both legs together. Ripp
          Hobble rM is the only authorized brand to be used.
          Maximal Restraint Technique (MRT): Technique used to secure a subject's feet to their waist in order to
          prevent the movement of legs and limit the possibility of property damage or injury to him/her or others.
          Prone Position: For purposes of this policy, the term Prone Position means to lay a restrained subject face
          down on their chest.
          Side Recovery Position: Placing a restrained subject on their side in order to reduce pressure on his/her
          chest and facilitate breathing.
      IV. RULES/REGULATIONS
          A. Maximal Restraint Technique - Use (06/13/14)
             1. The Maximal Restraint Technique shall only be used in situations where handcuffed subjects are
                combative and still pose a threat to themselves, officers or others, or could cause significant damage to
                property if not properly restrained.

                 2. Using the hobble restraint device, the MRT is accomplished in the following manner:
                    a. One hobble restraint device is placed around the subject's waist.
                    b. A second hobble restraint device is placed around the subject's feet.
                    c. Connect the hobble restraint device around the feet to the hobble restraint device around the
                         waist in front of the subject.
                     d. Do not tie the feet of the subject directly to their hands behind their back. This is also known as
                         a hogtie.
                 3. A supervisor shall be called to the scene where a subject has been restrained using the MRI to
                     evaluate the manner in which the MRT was applied and to evaluate the method of transport.
             B. Maximal Restraint Technique - Safety (06/13/14)
                 l. As soon as reasonably possible, any person restrained using the MRI who is in the prone position
                     shall be placed in the following positions based on the type of restraint used:
                     a. If the hobble restraint device is used, the person shall be placed in the side recovery position.
                 2. When using the MRT, an EMS response should be considered.
                 3. Under no circumstances, shall a subject restrained using the MRT be transported in the prone
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              posltlon.                                                         ,


         4. Officers shall monitor the restrained subject until the arrival of medical personnel, if necessary or
              transfer to another agency occurs.
         5.    In the event any suspected medical conditions arise prior to transport, officers will notifu paramedics
              and request a medical evaluation of the subject or transport the subject immediately to a hospital.
         6.    A prisoner under Maximal Restraint should be transported by a two-officer squad, when feasible.
              The restrained subject shall be seated upright, unless it is necessary to transport them on their side.
              The MVR should be activated during transport, when available.
         7.    Offrcers shall also inform the person who takes custody of the subject that the MRT was applied.
      C. Maximal Restraint Technique - Reporting (06/13/14)
          l. Anytime the hobble restraint device is used, officers' Use of Force reporting shall document the
              circumstances requiring the use of the restraint and the technique applied, regardless of whether an
              injury was incured.
         2. Supervisors shall complete a Supervisor's Force Review.
         3. When the Maximal Restraint Technique is used, offrcers' report shall document the following:
                    ffJ"l[1xil;H::LT]lilllli,'l:*::]"J:lTil:fJi:eastheimp'Iemen'fused
                    How the subject was transported and the position of the subject.
                '   Observations of the subject's physical anciphysiological actions (examples include: significant
                    changes in'bohavior, consciousness or medical issues).

5-317 LESS-LETHAL 40MM LAtii\CHER AND IMPACT PROJECTILES (07/t6/19\
I.     PURPOSE
      A. The MPD recognizes that combative, non-compliant, armed and or otherwise violent subjects cause
      handling and control problems that require special training and equipment. The MPD has adopted the less-
      lethal force philosophy to assist with the de-escalation of these potentially violent confrontations.

      B. This policy addresses the use of the less-lethal 40mm launcher and the 40mm less-lethal round. The
      deployment of the 40mm launcher is not meant to take the place of deadly force options.
il.   DEFINITIONS
      40mm Less-Lethal round: Direct fire round used in situations where maximum deliverable energy is
      desired for the incapacitation of an aggressive, non-compliant subject.
III. POLICY
      A. This policy applies to officers who are not working in a certified SWAT capacity.

      B. The 40mm launcher with the 40mm less-lethal round should not be used in deadly force situations
      withqut firearm backup.
          I . The use of the 40mm less-lethal round should be considered a level slightly higher than the use of an
              impact weapon and less than deadly force when deployed to areas of the suspect's body that are
              considered unlikely to cause death or serious physical injury.
          2. Prior to using less-lethal options, officers need to consider any risks to the public or themselves.
          3. When using the 40mm less-lethal round, consideration shall be given as to whether the subject could
              be controlled by any other reasonable means without unnecessary risk to the subject, officers, or to
              the public, in accordance with knowledge and training in use of force and MPD policies governing
              the use of deadly and non-deadly force.
      C. Only officers trained in the use of the 40mm launcher and 40mm less-lethal round are authorized to carrv
      and use them.

      D. Officers shall not deploy 40mm launchers for crowd management purposes.
IV. PROCEDURES/REGULATIONS
      A. Standard projectiles
                 CASE 0:21-cr-00108-PAM-TNL Doc. 544-1 Filed 11/13/23 Page 42 of 47
                                                                                     ExU-D Qa{17
  5-314.02USE OF CONDUCTED ENERGY DEVTCES (CED) - SUBJECT FACTORS (10/01/10)

 Officers must consider the possible heightened risk of injury and adverse societal reaction to the use of
 CED's upon certain individuals. Officers must be able to articutate a correspondingty heightened
 justification when using a CED upon:



     '. Personspersons
                with known heart conditions, including pacemakers or those known to be in medical crisis:
       Elderly          or young children;
     . Frail persons or persons with very thin statures (i.e., may have thin chest
     . walls);
     . Women known to be pregnant;
 Prior to using a CED on a subject in flight the following should be considered:

    . The severity of the crime at issue;
    . Whether the suspect poses an immediate threat to the safety of the officer or others, and;
    ' The officer has a reasonable belief that use of the CED would not cause significant harm to the
      subject fleeing unless use of deadly force would othenryise be permitted.

 5-314.03 USE OF CONDUCTED ENERGY DEVTCES (CED)
                                                                 - STTUATTONAL FACTORS (10/01/10)
ln the following situations, CED's should not be used unless the use of deadly force would otherwise be
permitted:

    . On persons in elevated positions, who might be at a risk of a dangerous fall;
    . On persons operating vehicles or machinery;
    ' On persons who are already restrained in handcuffs unless necessary to prevent them causing
      serious bodily injury to themselves or others and if lesser attempts of control have   been ineffective.
    . On persons who might be in danger of drowning;
    . In environments in which combustible vapors and liquids or other flammable
    . substances are present;
    . ln similar situations involving heightened risk of serious injury or death to the subject.
5-314.04 USE OF CONDUCTED ENERGY DEVTCES (CED) DOWNLOADTNG/REPORT|NG
(10t01t101 (07t16t121
                                              -
Officers are required to report all actual use of their CED consistent with the downloading and reporting
guidelines outlined below. (07 I 16t12)

CED Downloading guidelines:

   ' The CED   (and camera if equipped) shall be downloaded, when used in probe mode or drive stun
           prior
     mode,         to the end of the officer's shift.
   ' The   CED   (and  camera if equipped) shall be downloaded for any incident that is recorded that the
     officer believes might have evidentiary value.
   ' lf a processing
          CED was used during a critical incident, the CED will be property inventoried by the Crime Lab
     for              video and firing data evidence.

CED Reporting guidelines:

   ' When   a CED is deployed and discharged on a subject, the officer shall report its use in CApRS
     (including a Use of Force Report and in the supplement) as well as on the officer's CED log.
     Ofiicers shall document de-escalation attempts in the Use of Force Report and in their supplement.
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       (07t16t121
                                                                                      EXlr-P l0 o{lL
     . When a CED is only threatened by means of displaying, red dotting, and/or arcing in situations
       which normally would require a CAPRS report, the threatened use shall be reported in CAPRS in
       the supplement of the report as well as on the officer's CED log. (07/16112)
     . When a CED is only threatened by means of displaying, red dotting, and/or arcing without actually
       being deployed on a subject and there is no arrest or CAPRS report othenrvise required, the officer
       may record this threatened use on their CED log and add such comments into the call. (OTt16ti2)

     . When a CED is used during the scope of off-duty employment outside of the City (e.g. another law
      enforcement agency) officers shallobtain a Minneapolis CCN from MECC and compiete a CApRS
      report titled AOA and refer to their employer's incident report in the supplement. Officers shall then
      download the device and store the information under the Minneapolis CCN. (07t16112)

 5-314.05 USE OF CONDUCTED ENERGY DEVICES (CED) - POST EXPOSURE
 TREATMENT/MED|CAL AtD (1 0/01 /1 0)

 Post exposure treatment (MedicalAid) for a person that has been exposed to the electricity from the
 CED shall include the following:

    1. Determine if the subject is injured or requires EMS.
    2. Render medical aid consistent with training and request EMS response for evaluation at anytime if
       necessary
    3. Request EMS response for probe removal if probes are located in sensitive areas (face, neck, groin
       or breast areas).
    4. Wear protective gloves and remove probes from the person's non-sensitive body areas.
    5. Secure the probes (biohazard "sharps") point down into the expended cartridge and sealw1h a
       safety cover.
    6. \Men appropriate, visually inspect probe entry sites and/or drive stun locations for signs of injury.
    7, \Nhen appropriate, photograph probe entry sites and/or drive stun locations.

Sworn employees shall routinely monitor the medical condition of a person who has been exposed to the
electrici$ from a CED untilthey are released to medical or other law enforcement personnel and inform
individuals accepting custody that a CED was used on the person. (10/01/10)

5-315 USE OF tMpACT WEAPONS - pOLtCy (08t17t071(1oto1tlol

The MPD approved impact weapons (Policy and Procedure Manual, Section 3-200 Equipment) are
considered less-lethal weapons. The use of impact weapons shall be consistent with current MpD
Training and MPD policies governing the use of force (Policy and Procedure Manual, Section 5-300).

Strikes from impact weapons shall only be administered under the following circumstances:

    . On subjects who are exhibiting active aggression, or;
    . For life saving purposes, or;
    . On subjects who are exhibiting active resistance in order to gain control of a subject and if lesser
     attempts at control have been or would likely be ineffective.

Strikes from impact weapons shall not be administered to persons who are non-compliant as defined by
policy.

5-315.01 USE OF IMPACT WEAPONS - TREATMENT/MED|CAL AtD (10/01/10)

Treatment (Medical Aid) for a person that has been struck with an impact weapon shall include the
following:
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                                                                                                 Exu-P                   llo{17
          and shall complete a report entitled "FORCE."
          2. Officers who deploy a less-lethal round shall immediately notify dispatch, who will noti$ a
               supervisor.
          3.   A supervisor shall respond to the scene any time a 40mm less-lethal round is used. The responding
               supervisor shall review the incident and complete a use of force review in accordance with P&P
               5-307.
          4. Supervisors shall ensure that all spent 40mm less-lethal rounds are collected and property
               inventoried if possible.




s-318 REMOTE RESTRATNT DEVICE (10/18/19)
 I.    PURPOSE

      A. The MPD recognizes that combative, non-complian! armed or otherwise violent subjects cause handling
          and control problems that require special haining and equipment.
      B. The purpose of a remote restraint device is to facilitate a safe and effective response by immobilizing and
          controlling resistive or non-compliant persons and persons with known or suspected mental health issues,
          and minimizing injury to suspects, subjects, and officers.
II.  DEFINITIONS
     Remote Restraint Device: The BolaWraprM is the only curently authorized remote restraint device. It is a
     hand-held device that discharges an eight-foot bola style Kevlar tether to entangle an individu al at arange of
     l0-25 feet.
III. POLICY
      A. The remote restraint device has limitations and restrictions requiring consideration before its use. The
          device shall only be used when its operator can safely approach the subject within the operational range
         of the device. Although the device is generally effective in controlling most individuals, officers should
         be aware that the device may not achieve the intended results and be prepared with other options.
      B. The remote restraint device should not be used in potentially deadly force situations without firearm
         backup.
               l. When used according to the specifications and training, the device should be considered a low-
                 level use of force.
             2.  Prior to using the device, officers need to consider any risks to the public or themselves
      C. Only ofiicers trained in the use of the remote restraint devices are authorized to carry and use them.
      D. Ofiicers are only authorized to carry department remote restraint devices while on-duty in a patrol
         response function. Officers shall ensure that remote restraint devices are secured at all times.
IV. PROCEDT]RES/REGULATIONS
      A. Standard devices
         Officers shall only carry MPD-approved remote restraint devices, cartridges and cutters. No personally
         owned remote restraint devices shall be carried or used.
      B. Targetareas
         l. Reasonable efforts should be made to target lower extremities or lower arms.
         2. The head, neck, chest and groin shall be avoided.
         3. If the dynamics of a situation or ofticer safety do not permit the officer to limit the application of the
             remote restraint device to a precise target area, officers should monitor the condition of the subject if it
             strikes the head, neck, chest or groin until the subject is examined by paramedics or other medical
             personnel.
      C. Deployment
         l. The remote restraint device may be used in any of the following circumstances, when the
             circumstances perceived by the officer at the time indicate that such application is reasonably
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               device to alert dispatch and other officers that the sound was a device being discharged.
            d. The fact that a verbal or other waming was given or the reasons it was not given shall be
               documented by the offtcer deploying the remote restraint device in the related report.
 E. Carrying and storage
        l. Officers shall only use department-approved remote restraint devices that have been issued by the
            Department
        2. Only officers who have successfully completed department-approved training may be authorized to
            carry and deploy the remote restraint device.
        3. All remote restraint devices are clearly and distinctly marked to differentiate them from the duty
            weapon and any other device.
        4. Uniformed and plainclothes officers who have been authorized to carry the remote restraint device shall
           wear the device in an approved holster on their person or keep the device safely and properly stored in
           their City vehicle.
        5. Officers shall ensure that their remote restraint device is properly maintained and in good working order.
           Officers shall notiff the Training Division of any issues, as the Training Division is in charge of
           inventory and maintenance ofthe devices.
        6. Officers should not hold both a firearm and the remote restraint device at the same time.
        Medical treatment
        l. Medical assistance shall be rendered as necessary in accordance with P&P 5-306 and the Emergency
           Medical Response policy (P&P 7-350).
           a' Additionally, any such individual who falls under any of the following categories should, as soon as
              practicable, be examined by paramedics or other qualified medical p..ronn.l,
                  ' The person is suspected of being under the influence of controlled substances or alcohol.
                  . The person may be pregnant.
                  ' The remote restraint device pellets are lodged in a sensitive area (e.g., groin, female breast,
                       head, face, neck).
    2. Officers on scene shall determine whether transporting the person to a medical facility is necessary to
           remove the pellets or barbs.
    3. If officers determine that cutting the tether is reasonable and appropriate, officers may cut the tether at
           the scene using medical scissors.
G. Use of Force reporting
    l. Officers that deploy a remote restraint device shall report the force in accordance with p&p 5-306, and
           shall complete a report entitled ,'FORCE."
    2. If a supervisor was not notified prior to deployment, officers who deploy the remote restraint device
          shall notiSr a supervisor to respond to the scene.
    3   ' Officers shall document any injuries or points of contact, with photographs whenever possible.
    4. A supervisor shall respond to the scene any time a remote restraint device is used. The responding
          supervisor shall review the incident and complete a use of force review in accordance with p&p
                                                                                                             ,407.
    5' Supervisors shall ensure that all expended cartridges, pellets, barbs and cord are collected and property
          inventoried if possible.
H. Transport of subjects
   If an offrcer transports the subject, the transporting officer shall inform any person providing medical care
   or receiving custody that the individual has been subjected to the application of the remote
                                                                                                  restraint device.
I. BolaWraprMpitot device form
   l. In addition to incident and force reporting, deployment of the remote restraint device shall be
          documented by each discharging officer using the BolaWrapruTest and Evaluation form. The
                                                                                                           following
          information is required on the form:
              . Device and cartridge serial numbers.
              . Date, time and location of the incident.
              ' Whether any display or laser deterred a subject and gained compliance.
              ' Number of device activations and the duration between activations.
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COUNTY OF PIMA                                                                                        ex? 0                   lofi-
                                                                                             SS.

 STATE OF ARIZONA


                                                        AFFIDAVIT


   l, Mr. Derek Michael Chauvin, am the affiant. Under the penalty of perjury, 28 U.S.C. 1746, aftiantdeclares the
                                                                                                                   following
particulars are true and correct:


1. On May 25 2020, I found probable cause existed to arrest Mr. George Perry Floyd, Jr. ("Floyd") for the following reasons:
On the above listed date I was assigned to mark_ed Minneapolis Policebepartment'squad'330 -aloirg with Officer
                                                                                                                   Thao. We
were dispatched to a forgery in progress call at Cup Foods located at 3759 Chicago Av S. Remarfi fraO stated
                                                                                                                  that a black
male entered the business and used a reported "fake twenty dollar bill" in U.S. cuirency to pay for cigarettes.
                                                                                                                The caller was an
employee of the above listed business.

2. Remarks stated this male later identified as arrested person/Floyd was intoxicated and not in control of himself. He was
described as over six feet tall and was said to be sitting on the hooi of a dark blue Mercedes Benz
                                                                                                    SUV parked nearby. SluaO
320 (Officer Kueng and Officer Lane) had advised dispatch by radio they would take the call. I heard
                                                                                                      them air they were out
with the vehicle listed in the calland were removing an occupant. We responded code 3 (lights
                                                                                                 anC sirens;to assist.

!- Upon,anival,l observed a Minneapolis Park Police officer (Chang) standing with a male and a female on the sidewalk near
the listed vehicle. He pointed toward the north on Chicago Av S wh6re squad'3zo was parked. I walked
                                                                                                      over to the vehicle
where I met with Officer Kueng who was attempting to get Floyd seated in the back seai of the squad
                                                                                                              car.
4. Floyd was struggling with..Officer Kueng and refusing to sit down in the back seat so the door could be closed. Ftoyd
yelling statements such as "l'm claustrophobic" and "l can't choke...l can't breathe".                                            was
                                                                                          In fact Floyd starteo saying ,'l can,t breathe,,
multiple times while still slanding upright. Floyd also had foam coming from his mouth. Floyd
                                                                                                     iontinueo to iesist efforts to have
him sit in the back seat of the squad car. I directed officer Lane to pu'il ftoyo into the backseat
                                                                                                      area so the doors could be
secured. Officer Kueng had closed the rear drivers side door.

5' However Floyd continued to struggle in the backseat causing the squad car to shake and banged his head against
plexiglass partition between the front and rear seat areas. This action caused                                           the
                                                                                his nose to bleed. Floyd was able to push
against the closed door with his feet and legs in an attempt to propel himself out of the
                                                                                          back seat of the squao car. Floyd was
yelling he wanted to go to the ground.

6' I attempted to push Floyd back into the back seat by pulling on his left shoulder with my right hand reaching across
and pushing on his back with my left hand. I was unsuccessfril in getting him back                                    his body
                                                                                   inside the vehicle. The decision was made
we would remove Floyd to perform an MRT.

7' lmmediately upon.removing Floyd and bringing him to the "ground" per his request, Floyd kicked officer Lane.
                                                                                                                        I had asked if
Floyd was going to jail and was told "He is und-er lrrest for forgiry righi now"
                                                                                 by officer Kulng. I had inquired if a ,'hobble,,
device was available. This is referring to the MpD issued Rip[ Restraint device.

B' Floyd was placed into the MPD trained MRT position which is prone on a given surface. I used left leg pressure
shin on the posterior side of his body high up for leverage purposes. The tec-hnique                                    using my
                                                                                      is contacting the tops of shoulder blades,
the spinal column in the middle, and related muscle and- connective tissue. ftre iignt
                                                                                        leg is contacting the lower portion of the
shoulder blade as trained. An MRT is typically performed with two or more officeri.
                                                                                       officer Lane wai able to secure Floyd,s
ankles. Officer Kueng was able to secure Floyd's legs.
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9. lt should be noted Floyd was able to lift and turn his head during the use of the technique. There was no contact with any
carotid arteries or the trachea area. Floyd was also positioned on the left side of his chest. There was space between his right
chest muscleb and the street surface.

10. The decision was made to not apply the Ripp Restraints as it was believed HCMC medics would be imminenly arriving.
Ambulance had been requested in approximately 36 seconds of bringing Floyd to the ground. An additional request was made
to have them respond code 3. The MRT was maintained to keep control of Floyd's movements to prevent any further assault
against officers or him attempting to hurt himself by getting up and running into the street. We were all on the side of the squad
car facing Chicago Av S with vehicles moving past.

1 1. Floyd had presented Cup Foods with a counterfeit twenty dollar bill of U.S. currency in order to obtain goods or
                                                                                                                       services
from the business. In this case it was presented to purchase cigarettes. The actual counterfeit bill presented was turned over
to officers as evidence. Floyd presenting the counterfeit currency was in direct violation of Minnesota Statute 609.632
Subdivision 3. Uttering or possessing. The statute states "Whoever, with intent to defraud, utters or possesses with intent to
utter any counterfeit United States postal money order, United States currency, Federal Reserve note, or other obligation or
security of the United States, having reason to know that the money order, currency, note, or obligation or security is forgeO,
counterfeited, falsely made, altered, or printed, is guilty of offering counterfeited currency and may be sentenced is provlded in
subdivision 4."

12. Under M.S. 609.632 Subdivision (b)(a) the penalty is imprisonment for not more than one year or to payment of a fine of
not more than $3000, or both, if the counterfeited item is used to obtain or in an attempt to obtain propertyoiservices having a
value of no more than $1000, or the aggregate face value of the counterfeited item is no more ttrah $iOOO.

13. The above offense is a gross misdemeanor and is not eligible for citation. lt is a bookable offense for Hennepin County
Jail.

14. Floyd was initially located by Officer Lane and Officer Kueng sitting in the drivers seat of the dark blue Mercedes Benz SUV
displaying Minnesota license plates. Floyd was believed to be impaired and had been making evasive movements while inside
the SUV. Floyd kept turning his head and upper body away toward the passenger seat. lt wis believed he was attempting
                                                                                                                             to
conceal items or reach for a weapon near the center console area. This caused Officer Lane to draw his firearm anO poiniit
                                                                                                                              at
Floyd. Floyd was ordered from the vehicle at gunpoint. Floyd struggled against Officer Lane who was attempting to handcuff
Floyd' Officer Kueng had to move from his position on the passenger side of the vehicle to assist in cuffing FbyJ.

 15. Floyd was located in the drivers seat of a motor vehicle with the be.lief he was impaired. lt was believed he was possibly
under the influence of PCP. Minnesota Statute 169A.20 subdivision 1 (Driving while impaired crime; motor vehicle)
                                                                                                                              states "it is
a crime for any person to drive, operate, or be in physical control of any motoivehicle, as defined in section 169A.03,
subdivision 15, except for motorboats in operation and off-road recreational vehicles, within this state or on any boundary
                                                                                                                                    water
of this state when: (1) the person is under the influence of alcohol; (2) the person is under the influence of
                                                                                                                  a controlled
substance; (3) the person is under the influence of an intoxicating substance and the person knows or has reason
                                                                                                                            to know that
the substance has the ability to cause impairment; (4) the person'is under the influence of a combination
                                                                                                                 of any two or more of
the elements named in clauses (1) to (3); (5) the person's alcohol concentration at the time, or as measured
                                                                                                                     within two hours of
the time, of driving, operating, or being in physical control of the motor vehicle is 0.08 or more; (6) the vehicle
                                                                                                                      is a commercial
motor vehicle and the person's alcohol concentration at the time, or as measured within two hours
                                                                                                         of the time, of driving,
operating, or being in physical control of the commercial motor vehicle is 0.04 or more; or (7) the person's
                                                                                                                  body contains any
amount of a controlled susbstance listed in Schedule I or ll, or its metabolite, other than marijuana
                                                                                                         or tetrahydrocannabinols.,,

]6   Floyd would have been arrested and transported to the Minneapolis Chem Test Unit to read the
lmplied Consent Advisory on recorded
                                                                                                  Minnesota Motor Vehicle
                                       video. The vehicle that Floyd was located in would have been towed and held as
evidence for the DWI offense' Floyd would have then been taken io Hennepin County Medical
                                                                                                 Center for a legal blood draw
after a search warrant was obtained. lf officers were not able to transport Fioyd to cnel Test,
                                                                                                the lmplied consent Advisory
would have been read at HCMC using body camera while awaiting th6 search warrant for
                                                                                          the bfooO .arpf"..
17. Floyd would have been booked at Hennepin County Jailfor Fourth-Degree Driving While lmpaired
                                                                                                 under M.S. 1694.2Z
subdivision 2. This is a misdemeanor offense not eligible for citation.




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